Case 2:20-cv-00763-AB-AS Document 61 Filed 09/27/21 Page 1 of 65 Page ID #:964




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  8
                          UNITED STATES DISTRICT COURT
  9
                        CENTRAL DISTRICT OF CALIFORNIA
 10

 11
    IMANI WHITFIELD, SHAWANNA                  Case No. 2:20-cv-00763-AB (ASx)
 12 McCOY, and JOSEY PARSONS
 13 AUGHTMAN, on behalf of themselves
    and all others similarly situated,         [PROPOSED] FINAL
 14                                            SETTLEMENT ORDER AND
                              Plaintiffs,      JUDGMENT
 15        v.
 16   YES TO, INC.,
 17                               Defendant.
 18

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Case 2:20-cv-00763-AB-AS Document 61 Filed 09/27/21 Page 2 of 65 Page ID #:965



  1         IT IS HEREBY ADJUDGED AND DECREED THAT:
  2         1.     This Judgment incorporates by reference the definitions in the
  3   Stipulation of Settlement dated January 20, 2021 (Ex. A to Dkt. 41-1) (the
  4   “Stipulation”), attached hereto as Exhibit 1, and all capitalized terms used herein
  5   shall have the same meanings as set forth in the Stipulation unless set forth differently
  6   herein. The terms of the Stipulation are fully incorporated in this Judgment as if set
  7   forth fully here.
  8         2.     The Court has jurisdiction over the subject matter of this action and all
  9   Parties to the action, including all Settlement Class Members who do not timely
 10   exclude themselves from the Class. The list of excluded Class Members was filed
 11   with the Court on September 23, 2021, and is attached as Exhibit 2.
 12         3.     Pursuant to Federal Rule of Civil Procedure 23(b)(3), the Court hereby
 13   certifies the following Settlement Class:
 14              All persons in the United States who purchased or used the Yes To
 15              Grapefruit Vitamin C Glow-Boosting Unicorn Paper Mask.
                 Excluded from this definition are the Released Persons, any person
 16
                 or entity that purchased the Yes To Grapefruit Vitamin C Glow-
 17              Boosting Unicorn Paper Mask for purposes of resale and not for
                 his/her/its own consumption (i.e., “Resellers”'), and any judicial
 18
                 officer assigned to this case.
 19
            4.     Pursuant to Federal Rule of Civil Procedure 23(c)(3), all such persons
 20
      or entities who satisfy the Settlement Class definition above, except those Settlement
 21
      Class Members who timely and validly excluded themselves from the Settlement
 22
      Class, are Settlement Class Members bound by this Judgment.
 23
            5.     For settlement purposes only, the Court finds:
 24
                   (a)    Pursuant to Federal Rule of Civil Procedure 23(a), Imani
 25
      Whitfield, Shawanna McCoy, and Josey Parsons-Aughtman are members of the
 26
      Settlement Class, their claims are typical of the Settlement Class, and they fairly and
 27
      adequately protected the interests of the Settlement Class throughout the proceedings
 28
                                                                  [PROPOSED] FINAL SETTLEMENT
                                                  -1-                    ORDER AND JUDGMENT
Case 2:20-cv-00763-AB-AS Document 61 Filed 09/27/21 Page 3 of 65 Page ID #:966



  1   in the Action. Accordingly, the Court hereby appoints Ms. Whitfield, Ms. McCoy,
  2   and Ms. Parsons-Aughtman as class representatives;
  3                (b)       The Class meets all of the requirements of Federal Rules of Civil
  4   Procedure 23(a) and (b)(3) for certification of the class claims alleged in the First
  5   Amended Complaint, including: (a) numerosity; (b) commonality; (c) typicality; (d)
  6   adequacy of the class representative and Class Counsel; (e) predominance of
  7   common questions of fact and law among the Class for purposes of settlement; and
  8   (f) superiority; and
  9                (c)       Having considered the factors set forth in Rule 23(g)(1) of the
 10   Federal Rules of Civil Procedure, Class Counsel have fairly and adequately
 11   represented the Class for purposes of entering into and implementing the settlement.
 12   Accordingly, the Court hereby appoints Class Counsel as counsel to represent Class
 13   Members.
 14         6.     Persons or entities who filed timely exclusion requests are not bound by
 15   this Judgment or the terms of the Stipulation and may pursue their own individual
 16   remedies against Defendant. However, such excluded parties are not entitled to any
 17   rights or benefits provided to Settlement Class Members by the terms of the
 18   Stipulation. The list of persons and entities excluded from the Settlement Class
 19   because they filed timely and valid requests for exclusion is attached hereto as
 20   Exhibit 2.
 21         7.     The Court directed that notice be given to Class members by publication
 22   and other means pursuant to the notice program proposed by the Parties in the
 23   Stipulation and approved by the Court. (Dkt. 48 ¶¶ 11-16.) The declaration from
 24   Heffler Claims Group, attesting to the dissemination of the notice to the Class,
 25   demonstrates compliance with this Court’s Preliminary Approval Order. The Class
 26   Notice advised Settlement Class members of the terms of the settlement; the date,
 27   time, and location of the final approval hearing and their right to appear at such
 28   hearing; their rights to remain in or opt out of the Settlement Class and to object to
                                                                  [PROPOSED] FINAL SETTLEMENT
                                                  -2-                    ORDER AND JUDGMENT
Case 2:20-cv-00763-AB-AS Document 61 Filed 09/27/21 Page 4 of 65 Page ID #:967



  1   the settlement; the procedures for exercising such rights; and the binding effect of
  2   this Judgment, whether favorable or unfavorable, to the Settlement Class.
  3         8.     The distribution of the notice to the Settlement Class constituted the best
  4   notice practicable under the circumstances, and fully satisfied the requirements of
  5   Federal Rule of Civil Procedure 23, the requirements of due process, 28 U.S.C.
  6   §1715, and any other applicable law.
  7         9.     Pursuant to Federal Rule of Civil Procedure 23(e)(2), the Court finds
  8   after a hearing and based upon all submissions of the Parties and other persons that
  9   the settlement proposed by the Parties is fair, reasonable, and adequate. The terms
 10   and provisions of the Stipulation are the product of arms-length negotiations
 11   conducted in good faith and with the assistance of an experienced mediator, Jill
 12   Sperbor. The Court has considered any timely objections to the Settlement and finds
 13   that such objections are without merit and should be overruled. Approval of the
 14   Stipulation will result in substantial savings of time, money and effort to the Court
 15   and the Parties, and will further the interests of justice.
 16         10.    Upon the Final Settlement Approval Date, the named Plaintiffs and each
 17   Class Member other than those listed on Exhibit 2 shall be deemed to have, and by
 18   operation of this Final Settlement Order and Judgment shall have released, waived
 19   and discharged with prejudice Defendant from any and all claims, demands, actions,
 20   causes of action, lawsuits, arbitrations, damages, or liabilities whether legal,
 21   equitable, or otherwise, relating in any way to the claims asserted or the factual or
 22   legal allegations made in the Action, including without limitation the purchase or use
 23   of the Yes To Grapefruit Vitamin C Glow-Boosting Unicorn Paper Mask at any time
 24   (the “Released Claims”).
 25         11.    All Class Members who have not timely and validly submitted requests
 26   for exclusion are bound by this Judgment and by the terms of the Stipulation.
 27         12.    The Class Representatives in this action initiated their respective
 28   lawsuits, acted to protect the Class, and assisted their counsel. Their efforts have
                                                                    [PROPOSED] FINAL SETTLEMENT
                                                 -3-                       ORDER AND JUDGMENT
Case 2:20-cv-00763-AB-AS Document 61 Filed 09/27/21 Page 5 of 65 Page ID #:968



  1   produced the Stipulation entered into in good faith that provides a fair, reasonable,
  2   adequate and certain result for the Class. Each of the three Class Representatives are
  3   entitled to a service award of $5,000. Class Counsel is entitled to reasonable
  4   attorneys’ fees, which the Court finds to be $250,000.00, and expenses in the amount
  5   of $6,055.41. The Settlement Notice and Other Administrative Costs may be paid
  6   from the Settlement Fund, in accordance with the terms set forth in the Stipulation.
  7         13.    The Court hereby dismisses with prejudice this Action, and the Released
  8   Parties are hereby released from all further liability for the Released Claims.
  9         14.    Without affecting the finality of this Judgment, the Court reserves
 10   jurisdiction over the implementation, administration and enforcement of this
 11   Judgment and the Stipulation, and all matters ancillary thereto.
 12         15.    The Court finding that no reason exists for delay in ordering final
 13   judgment pursuant to Federal Rule of Civil Procedure 54(b), the clerk is hereby
 14   directed to enter this Judgment forthwith.
 15         16.    The Parties are hereby authorized without needing further approval from
 16   the Court to agree to and adopt such modifications and expansions of the Stipulation,
 17   including without limitation the claim review procedure, that are consistent with this
 18   Judgment and do not limit the rights of Class Members under the Stipulation.
 19

 20         IT IS SO ORDERED.
 21

 22
       DATED: September 27, 2021
 23                                             HONORABLE ANDRE BIROTTE JR.
                                                UNITED STATES DISTRICT JUDGE
 24

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                                                                 [PROPOSED] FINAL SETTLEMENT
                                               -4-                      ORDER AND JUDGMENT
Case 2:20-cv-00763-AB-AS Document 61 Filed 09/27/21 Page 6 of 65 Page ID #:969




                                        EXHIBIT 
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 Case2:20-cv-00763-AB-AS
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       E-Mail: ltfisher@bursor.com
 5

 6     Attorneys for Plaintiffs

 7
                                   UNITED STATES DISTRICT COURT
 8
                                  CENTRAL DISTRICT OF CALIFORNIA
 9

10
      IMANI WHITFIELD, SHAWANNA McCOY,                   Case No. 2:20-cv-00763-AB-AS
11    and JOSEY PARSONS AUGHTMAN, on behalf
      of themselves and all others similarly situated,
12                                                       STIPULATION OF SETTLEMENT
                                    Plaintiffs,
13           v.
14    YES TO, INC.,
15                                  Defendant.
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       STIPULATION OF SETTLEMENT
       CASE NO. 2:20-CV-00763-AB-AS
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 1
             This Stipulation of Settlement (the “Stipulation”) is made by Imani Whitfield, Shawanna
 2
      McCoy, and Josey Parsons Aughtman (the “Plaintiffs” or “Class Representatives”), on behalf of
 3
      themselves and the Settlement Class (defined below), on the one hand, and Defendant Yes To, Inc.
 4
      (hereinafter “Defendant”), on the other hand, (collectively referred to as the “Parties”) subject to and
 5
      conditioned upon Court approval of the terms and conditions hereof.
 6
                                                       RECITALS
 7
              A.      On January 24, 2020, Plaintiff Imani Whitfield commenced an action entitled
 8
       Whitfield v. Yes To, Inc. (United States District Court, Central District of California, Case No. 2:20-
 9
       cv-763) (the “Action”), as a proposed class action, asserting claims for breach of express warranty,
10
       breach of implied warranty, violation of Pennsylvania’s Unfair Trade Practices and Consumer
11
       Protection Law, 73 P.S. §§ 201-1, et seq. (“UTPCPL”), fraudulent concealment, fraud, unjust
12
       enrichment, and conversion. Plaintiff alleges, inter alia, that Defendant manufactured and sold a
13
       defective product known as the “Yes To Grapefruit Vitamin C Glow-Boosting Unicorn Paper
14
       Mask,” which was sold both as a standalone product and bundled with other products (“Unicorn
15
       Mask”). Plaintiff alleges that the Unicorn Mask caused skin irritation and/or burns to her face.
16
              B.      On February 19, 2020, Plaintiffs Imani Whitfield and Shawanna McCoy filed a First
17
       Amended Complaint (“FAC”) asserting the same allegations that the Unicorn Mask caused facial
18
       irritation and/or burns, and advanced the same claims, adding causes of action for violation of
19
       California’s Consumers Legal Remedies Act (“CLRA”) (injunctive relief), Cal Civ. Code §1750, et
20
       seq., California’s False Advertising Law, Cal. Bus. & Prof. Code §17500, et seq. (the “FAL”), and
21
       violation of California’s Unfair Competition Law, Cal. Bus. & Prof. Code §17200. Dkt. No. 9.
22
              C.      On March 20, 2020, Plaintiffs Imani Whitfield and Shawanna McCoy filed a Second
23
       Amended Complaint (“SAC”) asserting the same claims and adding a prayer for damages for the
24
       CLRA claim. Dkt. No. 20.
25
              D.      On March 17, 2020, the Whitfield action was consolidated with the related Aughtman
26
       v. Yes To, Inc. (United States District Court, Central District of California, Case No. 2:20-cv-01223-
27
       AB-AS) action. Dkt. No. 19.
28
              E.      On May 15, 2020, Plaintiffs Imani Whitfield, Shawanna McCoy, and Josey Parsons
       STIPULATION OF SETTLEMENT                                                                           1
       CASE NO. 2:20-CV-00763-AB-AS
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 Case2:20-cv-00763-AB-AS
      2:20-cv-00763-AB-AS
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                                                 06/08/21 Page
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 1     Aughtman filed a Consolidated Class Action Complaint (“CCAC”) asserting the same claims for

 2     relief as in the Complaint, FAC and SAC. Dkt No. 23.

 3            F.      Defendant answered the CCAC on June 12, 2020, denying liability. Dkt. No. 25.

 4            G.      The Parties then began engaging in fact discovery. Plaintiffs propounded requests

 5     for production of documents.

 6            H.      Class Counsel (defined below) conducted an examination and investigation of the

 7     facts and law relating to the matters alleged in this Action, including, but not limited to, engaging in

 8     discovery, review and analysis of Defendant’s documents and data. Class Counsel also evaluated

 9     the merits of the Parties’ contentions and evaluated this Settlement, as it affects all parties, including

10     Settlement Class Members. The Class Representatives and Class Counsel, after taking into account

11     the foregoing, along with the risks and costs of further litigation, and the desire to provide prompt

12     and effective relief to the Settlement Class Members, represent that they are satisfied that the terms

13     and conditions of this Settlement are fair, reasonable, and adequate, and that this Settlement is in the

14     best interest of the Settlement Class Members (defined below).

15            I.      Defendant has expressly denied and continues to deny all claims, contentions and

16     charges of wrongdoing or liability against them arising out of any of the conduct, statements, acts

17     and/or omissions alleged, or that could have been alleged in the Action. Defendant likewise denies

18     that the current action could be certified as one or more classes for litigation purposes.

19     Notwithstanding their denial of all allegations of wrongdoing and all liability with respect to all

20     claims, Defendant considers it desirable to resolve the action to avoid further expense,

21     inconvenience, and burden, and therefore have determined that this settlement on the terms set forth

22     herein is appropriate. Neither the Stipulation nor any actions taken to carry out the Settlement are

23     intended to be, nor may they be deemed or construed to be, an admission or concession of liability,

24     or of the validity of any claim, defense, or of any point of fact or law on the part of any party.

25     Defendant denies the material allegations of all complaints in this action, including the CCAC.

26     Neither the Stipulation, nor the fact of settlement, nor settlement proceedings, nor the settlement

27     negotiations, nor any related document, shall be used as an admission of any fault or omission by

28     Defendant, an admission of fact or law, or be offered or received in evidence as an admission,
       STIPULATION OF SETTLEMENT                                                                               2
       CASE NO. 2:20-CV-00763-AB-AS
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 Case2:20-cv-00763-AB-AS
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 1     concession, presumption, or inference of any wrongdoing by Defendant in any proceeding.

 2            J.       Substantial settlement negotiations have taken place between the Parties. In addition

 3     to informal settlement discussions, on November 11, 2020, the Parties attended a virtual mediation

 4     with Jill Sperber Esq. of Judicate West. After a full day of mediation, the Parties were able to reach

 5     a resolution.

 6            K.       In consultation with their respective legal counsel and in consideration of the

 7     covenants and agreements set forth herein, and of the releases and dismissals of claims as described

 8     below, and other good and valuable consideration, the receipt and sufficiency of which hereby is

 9     acknowledged by each of the Parties, the Class Representatives and in consultation with their

10     respective legal counsel, on behalf of themselves and the Settlement Class Members, and Defendant

11     agree for settlement purposes only to the Settlement described herein, subject to Court approval,

12     under the following terms and conditions:

13                                               I. DEFINITIONS

14            1.1      “Claim Form” means the document to be submitted by Settlement Class Members
15     seeking cash payment pursuant to this Stipulation. The Claim Form will be available online at the
16     Settlement Website (defined below) and the contents of the Claim Form will be approved by the
17     Court. The Parties shall request the Court approve the Claim Form substantially in the form
18     attached hereto and made a part hereof as Exhibit A.
19            1.2      “Claimant” means a Settlement Class Member who submits a claim for cash
20     payment as described in Section II of this Stipulation.
21            1.3      “Class Counsel” means the law firms of Bursor & Fisher, P.A., Milstein Jackson
22     Fairchild & Wade, LLP, and Golomb & Honik, P.C.
23            1.4      “Class Notice” means the Court-approved notice plan described in Section IV below.
24            1.5      “Class Representatives” means Plaintiffs Imani Whitfield, Shawanna McCoy, and
25     Josey Parsons Aughtman.
26            1.6      “Court” means the United States District Court, Central District of California.
27            1.7      “Defendant’s Counsel” means the law firm of Troutman Pepper Hamilton Sanders
28     LLP.
       STIPULATION OF SETTLEMENT                                                                           3
       CASE NO. 2:20-CV-00763-AB-AS
Case
 Case2:20-cv-00763-AB-AS
      2:20-cv-00763-AB-AS Document
                           Document53-8
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                                    61 Filed  01/28/21 Page
                                              06/08/21  Page11
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 1           1.8     “District Court Final Approval Date” means the day on which the Court’s Settlement

 2    Approval Order and Final Judgment (defined below) is entered.

 3           1.9     “Fee and Expense Award” means the amount that may be awarded to Class Counsel

 4    by the Court for attorneys’ fees, costs, and expenses.

 5           1.10    “Final Settlement Approval Date” means the later of thirty (35) days after entry of

 6    the Settlement Approval Order and Final Judgment or expiration of the time to appeal from the

 7    Settlement Approval Order and Final Judgment without any appeal being taken, or if an appeal or

 8    request for review (including but not limited to a request for reconsideration or rehearing, or a

 9    petition for a writ of certiorari) has been taken, the date on which the Settlement Approval Order

10    and Final Judgment has been affirmed by the court of last resort to which an appeal or request for

11    review has been taken and such affirmance is no longer subject to further appeal or review, or the

12    date of denial of review after exhaustion of all appellate remedies.

13           1.11    “Incentive Award” means any award not to exceed $5,000 per Plaintiff ($15,000

14    total), sought by application to and approved by the Court that may be payable to the Class

15    Representatives from the Settlement Fund.

16           1.12    “Long Form Notice” means the Court-approved long form of notice to be posted to

17    the Settlement Website (defined below), pursuant to the Media Plan (defined below). The Parties

18    shall request the Court approve the Long Form Notice substantially in the form attached hereto and

19    made a part hereof as Exhibit B.

20           1.13    “Media Plan” means the Settlement Administrator’s plan to disseminate Class Notice

21    to Settlement Class Members. The Media Plan will be designed to reach no fewer than seventy-five

22    (75) percent of the Settlement Class Members and will be created with the collaboration and

23    approval of Yes To.

24           1.14    “Notice and Other Administrative Costs” means all costs and expenses actually

25    incurred by the Settlement Administrator (defined below) in the publication of Class Notice,

26    establishment of the Settlement Website (defined below) and the processing, handling, reviewing,

27    and paying of claims made by Claimants.

28           1.15    “Parties” means Plaintiffs Imani Whitfield, Shawanna McCoy, Josey Parsons
      STIPULATION OF SETTLEMENT                                                                            4
      CASE NO. 2:20-CV-00763-AB-AS
Case
 Case2:20-cv-00763-AB-AS
      2:20-cv-00763-AB-AS Document
                           Document53-8
                                   41-1 Filed09/27/21
                                    61 Filed  01/28/21 Page
                                              06/08/21  Page12
                                                             15ofof65
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 1    Aughtman and Defendant Yes To, Inc.

 2            1.16    “Preliminary Approval” means that the Court has entered an order preliminarily

 3    approving the terms and conditions of this Stipulation, including the manner of providing and

 4    content of notice to Settlement Class Members. The Parties shall request the Court to enter the

 5    proposed Preliminary Settlement Approval Order substantially in the form attached hereto and

 6    made a part hereof as Exhibit C.

 7            1.17    “Preliminary Approval Date” means the date on which the Court enters an Order

 8    granting Preliminary Approval.

 9            1.18    “Released Persons” means and includes Defendant, Travelers Indemnity Company

10    of Connecticut, Travelers Property Casualty Company of America, and any and all manufacturers,

11    suppliers, and retailers of the Unicorn Mask, and each of their past and present respective parents,

12    subsidiaries, divisions, affiliates, persons and entities directly or indirectly under its or their control

13    in the past or in the present, as well as their respective assignors, predecessors, successors, and

14    assigns, and all past or present partners, shareholders, managers, members, directors, officers,

15    employees, agents, attorneys, insurers, accountants, and representatives of any and all of the

16    foregoing.

17            1.19    “Settlement Administrator” means Heffler Claims Group and its successors and

18    assigns.

19            1.20    “Settlement Class Members” or “Settlement Class” means:

20                    All persons in the United States who purchased or used the Yes To
21                    Grapefruit Vitamin C Glow-Boosting Unicorn Paper Mask.
                      Excluded from this definition are the Released Persons, any person
22                    or entity that purchased the Yes To Grapefruit Vitamin C Glow-
                      Boosting Unicorn Paper Mask for purposes of resale and not for
23                    his/her/its own consumption (i.e., “Resellers”'), and any judicial
                      officer assigned to this case.
24
              1.21    “Settlement Fund” means the total commitment of Defendant for purposes of this
25
      settlement, as described in Section II of this Stipulation, with a total value of $750,000.00, paid by
26
      Defendant for purposes of effectuating the settlement of this Action, the payment and disposition of
27
      which is subject to the provisions of this Stipulation, including paragraphs 2.4, 2.5, 2.6, 2.7, 2.8, 2.9,
28
      STIPULATION OF SETTLEMENT                                                                                 5
      CASE NO. 2:20-CV-00763-AB-AS
Case
 Case2:20-cv-00763-AB-AS
      2:20-cv-00763-AB-AS Document
                           Document53-8
                                   41-1 Filed09/27/21
                                    61 Filed  01/28/21 Page
                                              06/08/21  Page13
                                                             16ofof65
                                                             12     79 Page
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 1    3.1, and 3.2, below.

 2           1.22    “Settlement Approval Order and Final Judgment” means an order and judgment

 3    issued and entered by the Court, approving this Stipulation as binding upon the Parties and the

 4    Settlement Class Members and dismissing the Action with prejudice, and setting the amount for an

 5    award of attorneys’ fees not to exceed one-third of the total $750,000.00 value of the Settlement

 6    Fund, plus any award of costs and expenses, to Class Counsel as determined by the Court. The

 7    Settlement Approval Order and Final Judgment shall constitute a judgment within the meaning and

 8    for purposes of Rule 54 of the Federal Rules of Civil Procedure. The Parties shall request the Court

 9    to enter the proposed Settlement Approval Order and Final Judgment substantially in the form

10    attached hereto and made a part hereof as Exhibit D.

11           1.23    “Settlement Website” means a website operated and maintained by the Settlement

12    Administrator solely for purposes of making available to the Settlement Class Members the

13    documents, information, and online claims submission process referenced in paragraphs 2.4 through

14    2.6 below.

15           1.24    “Short Form Notice” means the Court-approved form of notice for publication to

16    Settlement Class Members, pursuant to the Media Plan. The Parties shall request the Court approve

17    the Short Form Notice substantially in the form attached hereto and made a part hereof as Exhibit E.

18           1.25    As used herein, the plural of any defined term includes the singular thereof and the

19    singular of any defined term includes the plural thereof, as the case may be.

20                                    II. SETTLEMENT CONSIDERATION

21           2.1     Benefit to Settlement Class Members from the Settlement Fund. The Settlement
22    Fund will be used to provide benefits to or on behalf of the Settlement Class. Defendant will
23    contribute $750,000.00 for payment of the following: (i) valid claims for benefits submitted by
24    Settlement Class Members pursuant to paragraph 2.4 below; (ii) the Notice and Other
25    Administrative Costs actually incurred by the Settlement Administrator as described in paragraph
26    4.5 below; (iii) the Fee and Expense Award, as may be ordered by the Court and as described in
27    paragraph 3.1 below, and (iv) any Incentive Award to the Class Representatives, not to exceed
28    $5,000 per Plaintiff as may be ordered by the Court and as described in paragraph 3.2 below.
      STIPULATION OF SETTLEMENT                                                                             6
      CASE NO. 2:20-CV-00763-AB-AS
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 Case2:20-cv-00763-AB-AS
      2:20-cv-00763-AB-AS Document
                           Document53-8
                                   41-1 Filed09/27/21
                                    61 Filed  01/28/21 Page
                                              06/08/21  Page14
                                                             17ofof65
                                                             13     79 Page
                                                                    63  PageID
                                                                             ID#:977
                                                                                #:463
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 1           2.2     Total Financial Commitment. Defendant and its insurer’s total financial

 2    commitment and obligation under this Stipulation, subject to Court approval, shall not exceed
 3    $750,000.00.
 4           2.3     Schedule of Payments into Settlement Fund. Defendant or its insurer shall make
 5    payments into the Settlement Fund in accordance with the following schedule:
 6                   a.     Notice and Other Administrative Costs. Amounts equal to the cost of
 7    publishing the Class Notice and other administrative costs, to be paid within thirty (30) days of
 8    when such amounts are invoiced to Defendant for work completed and become due and owing.
 9                   b.     Fee and Expense Award. An amount equal to the Fee and Expense Award, to
10    be paid as described at paragraph 3.1, below.
11                   c.     Incentive Award. An amount equal to any Incentive Award, not to exceed
12    $5,000 per Plaintiff ($15,000 total), as may be ordered by the Court and as described at paragraph
13    3.2, below.
14                   d.     Payment of Valid Claims. An amount equal to $750,000, less the sum of (i)
15    the total Notice and Other Administrative Costs, (ii) the Fee and Expense Award, and (iii) the
16    Incentive Award, which amount is to be paid to the Settlement Administrator within ten (10) days
17    of the Final Settlement Approval Date.
18           2.4     Claims Process. Each Settlement Class Member shall be entitled to submit a claim
19    for reimbursement, consistent with this paragraph.
20                   a.     Cash Payment. Each Settlement Class Member may submit a claim, either
21    electronically through a settlement website or by mail, for each of the Yes To Grapefruit Vitamin C
22    Glow-Boosting Unicorn Paper Mask products he, or she, purchased or used, provided such claim
23    includes attestation to the purchase(s) or use under penalty of perjury. Reimbursements will be
24    made for $3.00 to each Settlement Class Member who submits a valid claim. A Settlement Class
25    Member’s claim for reimbursement pursuant to this paragraph shall be considered a “Claim.” The
26    amount payable to each Settlement Class Member making a valid Claim shall be determined by the
27    Settlement Administrator. If the amount of cash available for the Settlement Fund is insufficient to
28    pay all valid Settlement Class Member Claims, individual payment amounts for Claims shall be
      STIPULATION OF SETTLEMENT                                                                            7
      CASE NO. 2:20-CV-00763-AB-AS
Case
 Case2:20-cv-00763-AB-AS
      2:20-cv-00763-AB-AS Document
                           Document53-8
                                   41-1 Filed09/27/21
                                    61 Filed  01/28/21 Page
                                              06/08/21  Page15
                                                             18ofof65
                                                             14     79 Page
                                                                    63  PageID
                                                                             ID#:978
                                                                                #:464
                                                                                #:843




 1    reduced on a pro-rata basis as described in paragraph 2.7 below. If the amount of cash available

 2    from the Settlement Fund is more than the total cash value of valid Claims, cash payments will be

 3    increased on a pro-rata basis, such that the Settlement Fund will be completely exhausted.

 4                     b.     Payment from Fund. Claims will be paid, after the Claim Period Close Date

 5    (as defined in paragraph 2.6) and after the Final Settlement Approval Date, whichever is later, from

 6    the Settlement Fund. Claims will be paid from the amount of the Settlement Fund remaining after

 7    payment of the Fee and Expense Award, Notice and Other Administrative Costs, and the Incentive

 8    Award.

 9             2.5     Proof of Claim. Claims for Yes To Grapefruit Vitamin C Glow-Boosting Unicorn

10    Paper Mask products purchased will be paid without submission of proof of purchase. A Claimant
11    must include information in the Claim Form – completed online or in hard copy mailed to the
12    Settlement Administrator – confirming under penalty of perjury that they purchased or used at least
13    one unit of the Yes To Grapefruit Vitamin C Glow-Boosting Unicorn Paper Mask products in the
14    United States.
15             2.6     Review of Claims. The Settlement Administrator shall be responsible for reviewing
16    all claims to determine their validity. The Settlement Administrator shall reject any claim that does
17    not comply in any material respect with the instructions on the Claim Form or the terms of
18    paragraphs 2.4 and 2.5, above, or is submitted after the close of the claim period set by the Court
19    (“Claim Period Close Date”). The Settlement Administrator shall promptly inform the Parties as
20    soon as the number of valid opt-outs equals or exceeds fifty (50) individuals (if at all).
21             2.7     Pro-Rata Distribution of Benefits. Receipt of total valid Settlement Class Member
22    Claims, determined in accordance with paragraphs 2.4 and 2.5 above, exceeding the available
23    portion of the Settlement Fund (after payment of the Fee and Expense Award, Notice and Other
24    Administrative Costs, and the Incentive Award) will reduce the cash payout for each class member
25    on a pro rata basis. Similarly, receipt of total valid Settlement Class Member Claims less than the
26    available portion of the Settlement Fund (after payment of the Fee and Expense Award, Notice and
27    Other Administrative Costs, and the Incentive Award) will increase the cash payout for each class
28    member on a pro rata basis.
      STIPULATION OF SETTLEMENT                                                                             8
      CASE NO. 2:20-CV-00763-AB-AS
Case
 Case2:20-cv-00763-AB-AS
      2:20-cv-00763-AB-AS Document
                           Document53-8
                                   41-1 Filed09/27/21
                                    61 Filed  01/28/21 Page
                                              06/08/21  Page16
                                                             19ofof65
                                                             15     79 Page
                                                                    63  PageID
                                                                             ID#:979
                                                                                #:465
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 1           2.8     Uncleared Checks. Those Settlement Class Members whose cash benefit checks are

 2    not cleared within one hundred eighty (180) days after issuance shall be ineligible to receive a cash
 3    settlement benefit and Defendant shall have no further obligation to make any payment pursuant to
 4    this Stipulation or otherwise to such Settlement Class Members. All unpaid funds from uncleared
 5    checks shall remain in the Settlement Fund pending further order of the Court. Class Counsel shall
 6    make an application to the Court to seek approval for a proposed disposition of the unpaid funds
 7    from uncleared checks.
 8           2.9     Notice to Attorneys General. Not later than ten (10) days after the Motion for
 9    Preliminary Approval of the Settlement is filed in court, the Settlement Administrator shall provide
10    notice of the proposed class action settlement to the appropriate state officials (i.e. each state
11    attorney general) and the Attorney General of the United States pursuant to 28 U.S.C. § 1715, and
12    the costs of such notice shall be paid from the Settlement Fund.
13            III. CLASS COUNSEL ATTORNEYS’ FEES AND EXPENSES AND CLASS
                           REPRESENTATIVE INCENTIVE AWARD
14
             3.1     Attorneys’ Fees, Costs and Expenses. Class Counsel shall apply to the Court for
15
      payment of an award of attorneys’ fees, of up to one-third of the total $750,000.00 value of the
16
      Settlement Fund. Class Counsel shall also apply separately for an award of their costs and
17
      expenses from the Settlement Fund. Such fees, costs and expenses, if approved by the Court, shall
18
      be payable within 30 days following the District Court’s fee award, which shall under no
19
      circumstances occur prior to the Settlement Approval Order and Final Judgment, subject to Class
20
      Counsel executing the Undertaking Regarding Attorneys’ Fees and Costs (the “Undertaking”)
21
      attached hereto as Exhibit F, and providing all payment routing information and tax I.D. numbers
22
      for Class Counsel. Notwithstanding the foregoing, if the final Settlement Approval Order and
23
      Final Judgment or any part of it is vacated, overturned, reversed, or rendered void or unenforceable
24
      as a result of an appeal, or the Stipulation is voided, rescinded, or otherwise terminated for any
25
      other reason, then Class Counsel shall, within thirty (30) days, repay to Defendant the full amount
26
      of the attorneys’ fees and costs paid by Defendant to Class Counsel. In such event, the following
27
      persons shall be jointly and severally liable for the return of such payments: (a) Bursor & Fisher,
28
      STIPULATION OF SETTLEMENT                                                                             9
      CASE NO. 2:20-CV-00763-AB-AS
Case
 Case2:20-cv-00763-AB-AS
      2:20-cv-00763-AB-AS Document
                           Document53-8
                                   41-1 Filed09/27/21
                                    61 Filed  01/28/21 Page
                                              06/08/21  Page17
                                                             20ofof65
                                                             16     79 Page
                                                                    63  PageID
                                                                             ID#:980
                                                                                #:466
                                                                                #:845




 1    P.A., (b) Milstein Jackson Fairchild & Wade, LLP, and (c) Golomb & Honik. To effectuate this

 2    provision, Bursor & Fisher, P.A., Milstein Jackson Fairchild & Wade, LLP, and Golomb & Honik

 3    shall, within ten (10) calendar days of the Preliminary Approval Order, execute and deliver to

 4    Defendant the Undertaking in the form attached as Exhibit F.

 5           3.2     Incentive Award. Class Counsel will petition the Court for approval of an Incentive

 6    Award payable to the Class Representatives in an amount not to exceed $5,000 per Plaintiff
 7    ($15,000 total). Defendant shall pay such award by wire transfer or check to Class Counsel within
 8    thirty-five (35) calendar days after the Final Settlement Approval Date.
 9              IV. NOTICE TO CLASS AND ADMINISTRATION OF SETTLEMENT
10           4.1     Class Notice. The Class Notice shall consist of the Long Form Notice and the Short
11    Form Notice. The Class Notice shall conform to all applicable requirements of the Federal Rules
12    of Civil Procedure, the United States Constitution (including the Due Process Clauses), and any
13    other applicable law, and shall otherwise be in the manner and form approved by the Court. Class
14    notice and claims administration will be provided by Heffler Claims Group with a media plan
15    designed to achieve no less than seventy-five (75) percent reach.
16           4.2     General Notice Terms. The Class Notice shall:
17                   a.     inform Settlement Class Members that, if they do not exclude themselves
18    from the Class, they may be eligible to receive the relief under the proposed settlement;
19                   b.     contain a short, plain statement of the background of the Action, the class
20    certification and the proposed settlement;
21                   c.     describe the proposed settlement relief outlined in this Stipulation; and
22                   d.     state that any relief to Settlement Class Members is contingent on the
23    Court’s final approval of the proposed settlement.
24           4.3     Notice of Exclusion and Objection Rights. The Class Notice shall inform
25    Settlement Class Members of their rights to exclude themselves from the Class or object to the
26    proposed settlement, as described in paragraph 5.3 below. The Class Notice shall further inform
27    Settlement Class Members that any judgment entered in the Action, whether favorable or
28    unfavorable to the Class, shall include, and be binding on, all Settlement Class Members who have
      STIPULATION OF SETTLEMENT                                                                           10
      CASE NO. 2:20-CV-00763-AB-AS
Case
 Case2:20-cv-00763-AB-AS
      2:20-cv-00763-AB-AS Document
                           Document53-8
                                   41-1 Filed09/27/21
                                    61 Filed  01/28/21 Page
                                              06/08/21  Page18
                                                             21ofof65
                                                             17     79 Page
                                                                    63  PageID
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                                                                                #:467
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 1    not been excluded from the Class, even if they have objected to the proposed settlement and even if

 2    they have any other claim, lawsuit or proceeding pending against Defendant.

 3           4.4     Time and Manner of Notice. Class Notice shall be provided as set forth in the

 4    Media Plan; media delivery of Class Notice shall be completed within forty-five (45) days after the
 5    Preliminary Approval Date.
 6           4.5.    Responsibilities of Settlement Administrator. The Parties will retain Heffler Claims
 7    Group to help implement the terms of the proposed Stipulation. The Settlement Administrator
 8    shall be responsible for administrative tasks, including, without limitation, (a) notifying the
 9    appropriate state and federal officials about the settlement, (b) arranging for distribution of Class
10    Notice (in the form approved by the Court) and Claim Forms (in a form ordered by the Court) to
11    Settlement Class Members, (c) handling inquiries from Settlement Class Members and/or
12    forwarding such written inquiries to Class Counsel and Defendant’s Counsel, (d) receiving and
13    maintaining on behalf of the Court and the Parties any Settlement Class Member correspondence
14    regarding requests for exclusion from the settlement, (e) establishing the Settlement Website that
15    posts notices, Claim Forms and other related documents, (f) receiving and processing claims and
16    distributing payments to Settlement Class Members, and (g) otherwise assisting with
17    implementation and administration of the Stipulation terms. The actual costs and expenses of the
18    Settlement Administrator, which are referred to as the Notice and Other Administrative Costs, will
19    be paid from the Settlement Fund.
20           4.6.    Performance Standards of Settlement Administrator. The contract with the
21    Settlement Administrator shall obligate the Settlement Administrator to abide by the following
22    performance standards:
23                   a.      The Settlement Administrator shall accurately and neutrally describe, and
24    shall train and instruct its employees and agents to accurately and objectively describe, the
25    provisions of this Stipulation in communications with Settlement Class Members;
26                   b.      The Settlement Administrator shall, when necessary, provide prompt,
27    accurate and objective responses to inquiries from Class Counsel or their designee, Defendant
28    and/or Defendant’s Counsel, and shall report no less than bi-weekly on claims, objectors,
      STIPULATION OF SETTLEMENT                                                                               11
      CASE NO. 2:20-CV-00763-AB-AS
Case
 Case2:20-cv-00763-AB-AS
      2:20-cv-00763-AB-AS Document
                           Document53-8
                                   41-1 Filed09/27/21
                                    61 Filed  01/28/21 Page
                                              06/08/21  Page19
                                                             22ofof65
                                                             18     79 Page
                                                                    63  PageID
                                                                             ID#:982
                                                                                #:468
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 1    exclusions, and related matters.

 2                   c.      The Settlement Administrator shall seek clarification, instruction or
 3    authorization for performance of its duties and expenditure or disposition of cash from both Class
 4    Counsel and their designee and from Defendant’s and/or Defendant’s Counsel or their designee.
 5                               V. CLASS SETTLEMENT PROCEDURES
 6           5.1     Settlement Approval. As soon as practical after the signing of this Stipulation, the
 7    Class Representatives shall move for a certification of a nationwide class for settlement purposes
 8    only and Preliminary Approval Order, conditionally certifying the nationwide Settlement Class,
 9    preliminarily approving the terms and conditions of this Stipulation as fair, reasonable, and
10    adequate, and in the best interests of the Settlement Class Members, approving notice to the
11    Settlement Class Members as described in Section IV above, and setting a hearing to consider final
12    approval of the Settlement and any objections thereto.
13           5.2     Settlement Approval Order and Final Judgment. At or before the final approval
14    hearing, the Class Representatives shall move for entry of a Settlement Approval Order and Final
15    Judgment substantially in the form as that attached hereto and made a part hereof as Exhibit D,
16    granting final approval of this Settlement and holding this Stipulation to be fair, reasonable, and
17    adequate, and in the best interests of the Settlement Class Members, and binding (as of the Final
18    Settlement Approval Date) on all Settlement Class Members who have not excluded themselves as
19    provided below, and ordering that the Settlement relief be provided as set forth in this Stipulation,
20    ordering the releases as set forth in Section VI below to be effective on the Final Settlement
21    Approval Date, and entering judgment in the Action.
22           5.3     Exclusions and Objections. The Class Notice shall advise all Settlement Class
23    Members of their right: (a) to be excluded from the Settlement, or (b) to object to the Settlement.
24    If, within such time as is ordered by the Court and contained in the Class Notice, any Settlement
25    Class Member wishes to be excluded from the Settlement, he or she must do so by timely mailing a
26    valid opt-out notice, as described in the Class Notice. Any Settlement Class Member who timely
27    elects to opt out of the Settlement shall not be permitted to object to the Settlement. Persons falling
28    within the definition of the Settlement Class who validly and timely request exclusion from the
      STIPULATION OF SETTLEMENT                                                                             12
      CASE NO. 2:20-CV-00763-AB-AS
Case
 Case2:20-cv-00763-AB-AS
      2:20-cv-00763-AB-AS Document
                           Document53-8
                                   41-1 Filed09/27/21
                                    61 Filed  01/28/21 Page
                                              06/08/21  Page20
                                                             23ofof65
                                                             19     79 Page
                                                                    63  PageID
                                                                             ID#:983
                                                                                #:469
                                                                                #:848




 1    Settlement effected by this Stipulation, pursuant to the procedures set forth in this paragraph, shall

 2    not be Settlement Class Members, shall not be bound by this Stipulation and shall not be eligible to

 3    make a claim for any benefit under the terms of this Stipulation.

 4           5.4     At least seven (7) calendar days prior to the final approval hearing, Class Counsel

 5    shall prepare or cause the Settlement Administrator to prepare a list of the persons who have

 6    excluded themselves in a valid and timely manner from the Settlement Class (the “Opt-Outs”), and

 7    Class Counsel shall file that list with the Court. If, within such time as is ordered by the Court and

 8    contained in the Class Notice, any Settlement Class Member wishes to object to the Settlement

 9    and/or to be heard, he or she must, on or before the deadlines established by the Court, submit to

10    the Settlement Administrator a written notice of objection and/or request to be heard. Such

11    communication shall state the name and address of the Settlement Class Member, shall include

12    information sufficient to demonstrate membership in the Settlement Class, shall state the grounds

13    for each objection asserted, and shall state whether the Settlement Class Member intends to appear

14    at the final approval hearing.

15           5.5     Defendant’s Option to Terminate Settlement. Defendant may elect, in its sole

16    discretion, to rescind and/or void this Stipulation ab initio if: (1) the number of individuals opting
17    out from the Class or from the Settlement of this Action is equal or greater than 175; (2) two or
18    more Settlement Class Members object to the Settlement seeking in the aggregate, more than
19    $50,000 and the objections are sustained by the trail court. Defendant must exercise this right in
20    writing to Class Counsel within fifteen (15) calendar days after: (1) the Settlement Administrator
21    notifies the Parties of the total number of opt-out requests; or (2) the date the trial court rules on the
22    objections for objectors. Defendant’s option to rescind shall have the same effect as nonapproval
23    under paragraph 5.7. The Parties and/or their respective counsel shall not encourage objections
24    and/or opt-outs.
25           5.6     Stay of the Action. The Parties shall request that the Court, in connection with
26    Preliminary Approval, issue an immediate stay of the Action.
27           5.7     Effect If Settlement Not Approved. This Stipulation is being entered into only for
28    purposes of settlement, subject to and without waiver of the Parties’ respective rights. If the Court
      STIPULATION OF SETTLEMENT                                                                              13
      CASE NO. 2:20-CV-00763-AB-AS
Case
 Case2:20-cv-00763-AB-AS
      2:20-cv-00763-AB-AS Document
                           Document53-8
                                   41-1 Filed09/27/21
                                    61 Filed  01/28/21 Page
                                              06/08/21  Page21
                                                             24ofof65
                                                             20     79 Page
                                                                    63  PageID
                                                                             ID#:984
                                                                                #:470
                                                                                #:849




 1    does not enter the order granting Preliminary Approval or does not grant final approval, or if the

 2    Final Settlement Approval Date does not occur, Class Counsel and Defendant’s Counsel shall

 3    endeavor, consistent with the Stipulation, to cure any defect identified by the Court; provided,

 4    however, that the parties hereto shall not be obligated to accept such cure if it increases the cost or

 5    burden of the Stipulation to Plaintiffs, Defendant, or any of the other Released Persons or reduces

 6    or otherwise affects the scope of the releases provided by this Stipulation. In the event that the

 7    Stipulation is terminated for any reason, final approval does not occur for any reason, or the Final

 8    Settlement Approval Date does not occur, then no term or condition of the Stipulation, or any draft

 9    thereof, or any discussion, negotiation, documentation, or other part or aspect of the Parties’

10    settlement discussions shall have any effect, nor shall any such matter be admissible in evidence

11    for any purpose in the Action, or in any other proceeding, and the Parties shall be restored to their

12    respective positions immediately preceding execution of this Stipulation. If the final Settlement

13    Approval Order and Final Judgment or any part of it is vacated, overturned, reversed, or rendered

14    void as a result of an appeal, or the Stipulation is voided, rescinded, or otherwise terminated for

15    any other reason, then within thirty (30) days, Class Counsel shall return to Defendant all

16    attorneys’ fees, costs, and other payments received by Class Counsel under the Stipulation, as set

17    forth in paragraph 3.1 above. The Parties agree that all drafts, discussions, negotiations,

18    documentation, or other information prepared in relation to the Stipulation and the Parties’

19    settlement discussions shall be treated as strictly confidential and may not be disclosed to any

20    person other than the Parties’ counsel, and only for purposes of the settlement of this Action.

21           5.8     Termination. The Stipulation shall have no effect unless and until this Stipulation is

22    fully executed by all Parties.
23
                                                 VI. RELEASES
24
             6.1     Release by Settlement Class Members. Effective as of the Final Settlement
25
      Approval Date, each and all of the Settlement Class Members (except any such person who has
26
      filed a proper and timely request for exclusion; and any person or entity that purchased the Yes To
27
      Grapefruit Vitamin C Glow-Boosting Unicorn Paper Mask for purposes of resale and not for
28
      STIPULATION OF SETTLEMENT                                                                             14
      CASE NO. 2:20-CV-00763-AB-AS
Case
 Case2:20-cv-00763-AB-AS
      2:20-cv-00763-AB-AS Document
                           Document53-8
                                   41-1 Filed09/27/21
                                    61 Filed  01/28/21 Page
                                              06/08/21  Page22
                                                             25ofof65
                                                             21     79 Page
                                                                    63  PageID
                                                                             ID#:985
                                                                                #:471
                                                                                #:850




 1    his/her/its own consumption (i.e., “Resellers”)) shall be deemed to have, and by operation of law

 2    shall have, fully, finally and forever released, relinquished, and discharged, and shall be forever

 3    barred from asserting, instituting, or maintaining against any or all of the Released Persons, any

 4    and all claims, demands, actions, causes of action, lawsuits, arbitrations, damages, or liabilities

 5    whether legal, equitable, or otherwise, relating in any way to the claims asserted or the factual or

 6    legal allegations made in the Action, including without limitation the purchase or use of the Yes To

 7    Grapefruit Vitamin C Glow-Boosting Unicorn Paper Mask at any time (collectively, the “Claims”).

 8    With respect to the Claims released pursuant to this paragraph, each Settlement Class Member

 9    shall be deemed to have waived, relinquished and released all claims that have or could have been

10    asserted in the action consistent with the broadest scope of release permitted under Hesse v. Sprint

11    Corp., 598 F. 3d 581, 590 (9th Cir. 2010). This release shall be interpreted to the fullest extent

12    permitted by law, and each Settlement Class Member shall be deemed to have waived any and all

13    provisions, rights and benefits conferred by California Civil Code section 1542 (and equivalent,

14    comparable, or analogous provisions of the laws of the United States of America or any state or

15    territory thereof, or of the common law or civil law). Section 1542 provides that:

16                   A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                     THAT THE CREDITOR OR RELEASING PARTY DOES
17                   NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
                     FAVOR AT THE TIME OF EXECUTING THE RELEASE
18                   AND THAT, IF KNOWN BY HIM OR HER WOULD HAVE
19                   MATERIALLY AFFECTED HIS OR HER SETTLEMENT
                     WITH THE DEBTOR OR RELEASED PARTY.
20
      Thus, as of the Final Settlement Approval Date, each Settlement Class Member shall be deemed to
21
      have expressly waived and fully, finally, and forever settled and released any known or unknown,
22
      suspected or unsuspected, contingent or noncontingent claim with respect to the Claims, whether or
23
      not concealed or hidden, without regard to subsequent discovery of existence of different or
24
      additional facts. Each and every term of this paragraph shall inure to the benefit of each and all of
25
      the Released Persons, and each and all of their respective successors and personal representatives,
26
      which persons and entities are intended to be beneficiaries of this paragraph. For avoidance of
27

28
      STIPULATION OF SETTLEMENT                                                                              15
      CASE NO. 2:20-CV-00763-AB-AS
Case
 Case2:20-cv-00763-AB-AS
      2:20-cv-00763-AB-AS Document
                           Document53-8
                                   41-1 Filed09/27/21
                                    61 Filed  01/28/21 Page
                                              06/08/21  Page23
                                                             26ofof65
                                                             22     79 Page
                                                                    63  PageID
                                                                             ID#:986
                                                                                #:472
                                                                                #:851




 1    doubt, this Release of Claims does not release any claims of Resellers of the Yes To Grapefruit

 2    Vitamin C Glow-Boosting Unicorn Paper Mask.

 3           6.2     Effectuation of Settlement. None of the above releases affects the Parties’ rights or

 4    claims to enforce the terms of the Stipulation.
 5           6.3     No Admission of Liability. This Stipulation reflects, among other things, the
 6    compromise and settlement of disputed claims among the Parties, and neither this Stipulation nor
 7    the releases given herein, nor any consideration therefor, nor any actions taken to carry out this
 8    Stipulation, are intended to be, nor may they be deemed or construed to be, an admission or
 9    concession of any fact, liability, or the validity of any claim, defense, or of any point of fact or law
10    on the part of any party. Defendant denies the material allegations of all the complaints filed in
11    this Action. Neither this Stipulation, nor the fact of settlement, nor the settlement proceedings, nor
12    the settlement negotiations, nor any related document, shall be used as an admission of any fault or
13    omission by any or all of the Released Persons, or be offered or received in evidence as an
14    admission, concession, presumption or inference of any wrongdoing or liability by any or all of the
15    Released Persons in any civil, criminal, administrative or other proceeding in any court, agency or
16    tribunal, other than such proceedings as may be necessary to consummate, interpret or enforce this
17    Stipulation.
18                           VII. CERTIFICATION OF SETTLEMENT CLASS
19           7.1     The Parties agree, for settlement purposes only and solely pursuant to the terms of
20    this Stipulation, that this Action shall, subject to Court approval, conditionally be certified and
21    proceed as a nationwide class action under Federal Rule of Civil Procedure 23(b)(3) for settlement
22    purposes only, with a class consisting of all Settlement Class Members, and with Imani Whitfield,
23    Shawanna McCoy, and Josey Parsons Aughtman as Class Representatives and with Class Counsel
24    as counsel for the Settlement Class Members.
25           7.2     Any certification of a conditional, preliminary or final settlement class pursuant to
26    the terms of this Settlement shall not constitute, and shall not be construed as, an admission on the
27    part of Defendant that this Action, or any other proposed or certified class action, is appropriate for
28    nationwide class treatment pursuant to Federal Rule of Civil Procedure or any similar state or
      STIPULATION OF SETTLEMENT                                                                             16
      CASE NO. 2:20-CV-00763-AB-AS
Case
 Case2:20-cv-00763-AB-AS
      2:20-cv-00763-AB-AS Document
                           Document53-8
                                   41-1 Filed09/27/21
                                    61 Filed  01/28/21 Page
                                              06/08/21  Page24
                                                             27ofof65
                                                             23     79 Page
                                                                    63  PageID
                                                                             ID#:987
                                                                                #:473
                                                                                #:852




 1    federal class action statute or rule. Neither the fact of this settlement nor this Stipulation shall be

 2    used in connection with efforts in any proceeding to seek nationwide or any other certification of

 3    any claims asserted against Defendant.

 4            7.3     In the event the Court does not approve the settlement and Stipulation, then this

 5    conditional certification is null and void, shall have no force or effect, and shall not be used or

 6    referred to for any purposes whatsoever in the Action or in any other case or controversy. In such

 7    an event, this Stipulation and all negotiations and proceedings related thereto shall be deemed to be

 8    without prejudice to the right of the Parties, who shall be restored to their respective positions as of

 9    the date of this Stipulation, and Defendant shall not be deemed to have waived any opposition or

10    defenses it has to any aspect of the claims asserted in the Action or to whether those claims or the

11    Action may properly be maintained as a class action.

12                                 VIII. MISCELLANEOUS PROVISIONS

13            8.1     Change of Time Periods. The time periods and/or dates described in this Stipulation
14    with respect to the giving of notices and hearings are subject to approval and change by the Court or
15    by the written agreement of Class Counsel and Defendant’s Counsel, without notice to Settlement
16    Class Members. The Parties reserve the right, by agreement and subject to the Court’s approval, to
17    grant any reasonable extension of time that might be needed to carry out any of the provisions of
18    this Stipulation.
19            8.2     Time for Compliance. If the date for performance of any act required by or under
20    this Stipulation falls on a Saturday, Sunday, or court holiday, that act may be performed on the next
21    business day with the same effect as if it had been performed on the day or within the period of time
22    specified by or under this Stipulation.
23            8.3     Governing Law. This Stipulation is intended to and shall be governed by the laws of
24    the State of California without giving effect to principles of conflicts of laws.
25            8.4     Entire Agreement. The terms and conditions set forth in this Stipulation constitute
26    the complete and exclusive statement of the agreement between the Parties relating to the subject
27    matter of this Stipulation, superseding all previous negotiations and understandings, and may not be
28    contradicted by evidence of any prior or contemporaneous agreement. The Parties further intend
      STIPULATION OF SETTLEMENT                                                                                 17
      CASE NO. 2:20-CV-00763-AB-AS
Case
 Case2:20-cv-00763-AB-AS
      2:20-cv-00763-AB-AS Document
                           Document53-8
                                   41-1 Filed09/27/21
                                    61 Filed  01/28/21 Page
                                              06/08/21  Page25
                                                             28ofof65
                                                             24     79 Page
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 1    that this Stipulation constitutes the complete and exclusive statement of its terms as between the

 2    Parties, and that no extrinsic evidence whatsoever may be introduced in any agency or judicial

 3    proceeding, if any, involving this Stipulation. Any modification of the Stipulation must be in

 4    writing signed by Class Counsel and Defendant.

 5            8.5       Advice of Counsel. The determination of the terms and the drafting of this

 6    Stipulation have been by mutual agreement after negotiation, with consideration by and
 7    participation of all Parties and their respective counsel. The presumption found in California Civil
 8    Code section 1654 (and equivalent, comparable, or analogous provisions of the laws of the United
 9    States of America or any state or territory thereof, or of the common law or civil law) that
10    uncertainties in a contract are interpreted against the party causing an uncertainty to exist is waived
11    by all Parties.
12            8.6       Binding Agreement. This Stipulation shall be binding upon and inure to the benefit
13    of the respective heirs, successors, and assigns of the Parties, the Settlement Class Members and the
14    other Released Persons.
15            8.7       No Waiver. The waiver by any Party of any provision or breach of this Stipulation
16    shall not be deemed a waiver of any other provision or breach of this Stipulation.
17            8.8       Execution in Counterparts. This Stipulation shall become effective upon its
18    execution by all of the undersigned. The Parties may execute this Stipulation in counterparts, and
19    execution of counterparts shall have the same force and effect as if all Parties had signed the same
20    instrument. The Parties further agree that signatures provided by portable document format (PDF)
21    or other electronic transmission shall have the same force and effect as original signatures.
22            8.9       Enforcement of this Stipulation. The Court shall retain jurisdiction, and shall have
23    exclusive jurisdiction, to enforce, interpret, and implement this Stipulation, and the terms of any
24    order entered pursuant to this Stipulation.
25            8.10      Best Efforts. The Parties and their undersigned counsel agree to undertake their best
26    efforts and mutually cooperate to promptly effectuate this Stipulation and the terms of the
27    settlement set forth herein, including taking all steps and efforts contemplated by this Stipulation
28    and any other steps and efforts which may become necessary by order of the Court or otherwise.
      STIPULATION OF SETTLEMENT                                                                              18
      CASE NO. 2:20-CV-00763-AB-AS
Case
 Case2:20-cv-00763-AB-AS
      2:20-cv-00763-AB-AS Document
                           Document53-8
                                   41-1 Filed09/27/21
                                    61 Filed  01/28/21 Page
                                              06/08/21  Page26
                                                             29ofof65
                                                             25     79 Page
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 1            8.11   Notices. All notices to the Parties or counsel required by this Stipulation shall be

 2    made in writing and communicated by email and mail to the following address:
 3            If to Class Representative, Settlement Class Members, or Class Counsel:
 4            L. Timothy Fisher
              Bursor & Fisher, P.A.
 5            1990 North California Blvd., Suite 940
              Walnut Creek, CA 94596
 6            Telephone: (925) 300-4455
 7            E-Mail: ltfisher@bursor.com

 8            If to Defendant or Defendant’s Counsel:
              Jeffrey Goldman
 9            Troutman Pepper Hamilton Sanders, LLP
10            Two California Plaza
              350 South Grand Avenue, Suite 3400
11            Los Angeles, CA 90071
              Telephone: (213) 928-9800
12            E-Mail: jeffrey.goldman@troutman.com
13          IN WITNESS HEREOF the undersigned, being duly authorized and intending to be legally

14   bound hereby, have caused this Stipulation to be executed on the dates shown below and agree that it

15   shall take effect on the date it is executed by all of the undersigned.

16    APPROVED AND AGREED:
             1/8/2021
      DATED: ________________                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
17
                                                     Plaintiff Imani Whitfield
18

19
      DATED: ________________                        _______________________________________
20
                                                     Plaintiff Shawanna McCoy
21

22    DATED: ________________                        _______________________________________
23                                                   Plaintiff Josey Parsons Aughtman

24

25    DATED: ________________                        _______________________________________
                                                     Yes To, Inc.
26

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28
      STIPULATION OF SETTLEMENT                                                                             19
      CASE NO. 2:20-CV-00763-AB-AS
Case
 Case2:20-cv-00763-AB-AS
      2:20-cv-00763-AB-AS Document
                           Document53-8
                                   41-1 Filed09/27/21
                                    61 Filed  01/28/21 Page
                                              06/08/21  Page27
                                                             30ofof65
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                                                                             ID#:990
                                                                                #:476
                                                                                #:855




 1            8.11   Notices. All notices to the Parties or counsel required by this Stipulation shall be

 2    made in writing and communicated by email and mail to the following address:
 3            If to Class Representative, Settlement Class Members, or Class Counsel:
 4            L. Timothy Fisher
              Bursor & Fisher, P.A.
 5            1990 North California Blvd., Suite 940
              Walnut Creek, CA 94596
 6            Telephone: (925) 300-4455
 7            E-Mail: ltfisher@bursor.com

 8            If to Defendant or Defendant’s Counsel:
              Jeffrey Goldman
 9            Troutman Pepper Hamilton Sanders, LLP
10            Two California Plaza
              350 South Grand Avenue, Suite 3400
11            Los Angeles, CA 90071
              Telephone: (213) 928-9800
12            E-Mail: jeffrey.goldman@troutman.com
13          IN WITNESS HEREOF the undersigned, being duly authorized and intending to be legally

14   bound hereby, have caused this Stipulation to be executed on the dates shown below and agree that it

15   shall take effect on the date it is executed by all of the undersigned.

16    APPROVED AND AGREED:

17    DATED: ________________                        _______________________________________
                                                     Plaintiff Imani Whitfield
18

19
                 01/08/2021
      DATED: ________________                        _______________________________________
20
                                                     Plaintiff Shawanna McCoy
21

22    DATED: ________________                        _______________________________________
23                                                   Plaintiff Josey Parsons Aughtman
24

25    DATED: ________________                        _______________________________________
                                                     Yes To, Inc.
26

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28
      STIPULATION OF SETTLEMENT                                                                             19
      CASE NO. 2:20-CV-00763-AB-AS
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 Case2:20-cv-00763-AB-AS
      2:20-cv-00763-AB-AS Document 53-8
                           Document41-1
                                    61 Filed  06/08/21 Page
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                                                                                #:477




 1            8.11   Notices. All notices to the Parties or counsel required by this Stipulation shall be

 2    made in writing and communicated by email and mail to the following address:
 3            If to Class Representative, Settlement Class Members, or Class Counsel:
 4            L. Timothy Fisher
              Bursor & Fisher, P.A.
 5            1990 North California Blvd., Suite 940
              Walnut Creek, CA 94596
 6            Telephone: (925) 300-4455
 7            E-Mail: ltfisher@bursor.com

 8            If to Defendant or Defendant’s Counsel:
              Jeffrey Goldman
 9            Troutman Pepper Hamilton Sanders, LLP
10            Two California Plaza
              350 South Grand Avenue, Suite 3400
11            Los Angeles, CA 90071
              Telephone: (213) 928-9800
12            E-Mail: jeffrey.goldman@troutman.com
13          IN WITNESS HEREOF the undersigned, being duly authorized and intending to be legally

14   bound hereby, have caused this Stipulation to be executed on the dates shown below and agree that it

15   shall take effect on the date it is executed by all of the undersigned.

16    APPROVED AND AGREED:

17    DATED: ________________                        _______________________________________
                                                     Plaintiff Imani Whitfield
18

19
      DATED: ________________                        _______________________________________
20
                                                     Plaintiff Shawanna McCoyy
21

22    DATED: ________________
              _______________                        _______________________________________
                                                     _____________________________________
23                                                   Plaint ff Josey Parsons Aughtman
24

25    DATED: ________________                        _______________________________________
                                                     Yes To, Inc.
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28
      STIPULATION OF SETTLEMENT                                                                             19
      CASE NO. 2:20-CV-00763-AB-AS
Case
 Case2:20-cv-00763-AB-AS
      2:20-cv-00763-AB-AS Document
                           Document53-8
                                   41-1 Filed09/27/21
                                    61 Filed  01/28/21 Page
                                              06/08/21  Page29
                                                             32ofof65
                                                             28     79 Page
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 Case2:20-cv-00763-AB-AS
      2:20-cv-00763-AB-AS Document
                           Document53-8
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                                              06/08/21  Page30
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                                                                EXHIBIT A
Case 2:20-cv-00763-AB-AS Document 61 Filed 09/27/21 Page 31 of 65 Page ID #:994
Case 2:20-cv-00763-AB-AS Document 61 Filed 09/27/21 Page 32 of 65 Page ID #:995
Case
 Case2:20-cv-00763-AB-AS
      2:20-cv-00763-AB-AS Document
                           Document53-8
                                   41-1 Filed09/27/21
                                    61 Filed  01/28/21 Page
                                              06/08/21  Page33
                                                             36ofof65
                                                             32     79 Page
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                                                                EXHIBIT B
Case 2:20-cv-00763-AB-AS Document 61 Filed 09/27/21 Page 34 of 65 Page ID #:997
Case 2:20-cv-00763-AB-AS Document 61 Filed 09/27/21 Page 35 of 65 Page ID #:998
Case 2:20-cv-00763-AB-AS Document 61 Filed 09/27/21 Page 36 of 65 Page ID #:999
Case 2:20-cv-00763-AB-AS Document 61 Filed 09/27/21 Page 37 of 65 Page ID #:1000
Case 2:20-cv-00763-AB-AS Document 61 Filed 09/27/21 Page 38 of 65 Page ID #:1001
Case 2:20-cv-00763-AB-AS Document 61 Filed 09/27/21 Page 39 of 65 Page ID #:1002
Case 2:20-cv-00763-AB-AS Document 61 Filed 09/27/21 Page 40 of 65 Page ID #:1003
Case 2:20-cv-00763-AB-AS Document 61 Filed 09/27/21 Page 41 of 65 Page ID #:1004
Case
Case 2:20-cv-00763-AB-AS
     2:20-cv-00763-AB-AS Document
                         Document 53-8
                                  41-1 Filed09/27/21
                                  61 Filed   01/28/21 Page
                                             06/08/21  Page4241
                                                             45ofof6563
                                                                     79 Page
                                                                         PageIDID#:1005
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   This Notice is only intended to provide a summary of the Proposed Settlement. You may obtain
   the complete text of the settlement at www.YesToClassAction.com, by writing to the Claims
   Administrator (at the address listed above), or from the court file, which is available for your
   inspection during regular business hours at the Office of the Clerk of the United States District
   Court for the Central District of California, First Street U.S. Courthouse located at 350 W 1st
   Street, Suite 4311, Los Angeles, CA 90012-4565.


   Visit the website, at www.YesToClassAction.com, where you will find the Plaintiffs’
   Complaint, Defendant’s Answer, the Settlement Agreement and other documents related to the
   settlement and a Claim Form. You may also contact Class Counsel by email at
   info@bursor.com, or by writing to Yes To Class Action Administrator, P.O. Box _______,
   _________, __ _________.


  PLEASE DO NOT CALL OR WRITE TO THE COURT FOR INFORMATION OR
  ADVICE.


  DATED: _________, 2021                       BY ORDER OF THE UNITED STATES
                                               DISTRICT COURT FOR THE CENTRAL
                                               DISTRICT OF CALIFORNIA




                            Questions? Visit www.YesToClassAction.com
                                                 -9-
Case
Case 2:20-cv-00763-AB-AS
     2:20-cv-00763-AB-AS Document
                         Document 53-8
                                  41-1 Filed09/27/21
                                  61 Filed   01/28/21 Page
                                             06/08/21  Page4342
                                                             46ofof6563
                                                                     79 Page
                                                                         PageIDID#:1006
                                                                                   #:492
                                                                                   #:871




                                                                  EXHIBIT C
Case
Case 2:20-cv-00763-AB-AS
     2:20-cv-00763-AB-AS Document
                         Document 53-8
                                  41-1 Filed09/27/21
                                  61 Filed   01/28/21 Page
                                             06/08/21  Page4443
                                                             47ofof6563
                                                                     79 Page
                                                                         PageIDID#:1007
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    9                                UNITED STATES DISTRICT COURT
   10                              CENTRAL DISTRICT OF CALIFORNIA
   11

   12   IMANI WHITFIELD, SHAWANNA McCOY,                   Case No. 2:20-cv-00763-AB-AS
        and JOSEY PARSONS AUGHTMAN, on behalf
   13   of themselves and all others similarly situated,
                                                           [PROPOSED] ORDER GRANTING
   14
                                      Plaintiffs,          PRELIMINARY APPROVAL OF CLASS
   15          v.                                          ACTION SETTLEMENT

   16   YES TO, INC.,

   17                                 Defendant.

   18

   19

   20

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Case
Case 2:20-cv-00763-AB-AS
     2:20-cv-00763-AB-AS Document
                         Document 53-8
                                  41-1 Filed09/27/21
                                  61 Filed   01/28/21 Page
                                             06/08/21  Page4544
                                                             48ofof6563
                                                                     79 Page
                                                                         PageIDID#:1008
                                                                                   #:494
                                                                                   #:873



    1         WHEREAS, Plaintiffs 1 in the action entitled Whitfield., filed on January 24,
    2   2020, in the U.S. District Court for the Central District of California and assigned
    3   Case No. 2:20-cv-00763-AB-AS and Defendant have entered into a Stipulation of
    4   Settlement, filed [__________], after arms-length settlement discussions;
    5         AND, WHEREAS, the Court has received and considered the Stipulation,
    6   including the accompanying exhibits;
    7         AND, WHEREAS, the Parties have made an application for an order
    8   preliminarily approving the settlement of this action, and for its dismissal with
    9   prejudice upon the terms and conditions set forth in the Stipulation;
   10         AND, WHEREAS, the Court has reviewed the Parties’ application for such
   11   order, and has found good cause for same.
   12         NOW, THEREFORE, IT IS HEREBY ORDERED:
   13         A.      The Settlement Class Is Conditionally Certified
   14         1.      Pursuant to Federal Rule of Civil Procedure 23, and for settlement
   15   purposes only, the Court hereby certifies the following Class:
   16         All persons in the United States who purchased or used the Yes To
   17         Grapefruit Vitamin C Glow-Boosting Unicorn Paper Mask. Excluded
   18         from this definition are the Released Persons, any person or entity that
   19         purchased the Yes To Grapefruit Vitamin C Glow-Boosting Unicorn
   20         Paper Mask for purposes of resale and not for his/her/its own
   21         consumption (i.e., “Resellers”), and any judicial officer assigned to this
   22         case.
   23         2.      With respect to the Class and for settlement purposes only, the Court
   24   preliminarily finds the prerequisites for a class action under Federal Rules of Civil
   25   Procedure 23(a) and (b)(3) have been met, including: (a) numerosity; (b)
   26   commonality; (c) typicality; (d) adequacy of the class representatives and Class
   27
        1
   28     All capitalized terms herein shall have the same meanings as set forth in the
        Stipulation unless otherwise specifically defined.
                                         1             [PROPOSED] ORDER PRELIMINARILY
                                                                     APPROVING CLASS
                                                                   ACTION SETTLEMENT
Case
Case 2:20-cv-00763-AB-AS
     2:20-cv-00763-AB-AS Document
                         Document 53-8
                                  41-1 Filed09/27/21
                                  61 Filed   01/28/21 Page
                                             06/08/21  Page4645
                                                             49ofof6563
                                                                     79 Page
                                                                         PageIDID#:1009
                                                                                   #:495
                                                                                   #:874



    1   Counsel; (e) predominance of common questions of fact and law among the Class
    2   for purposes of settlement; and (f) superiority.
    3         3.       Pursuant to Federal Rule of Civil Procedure 23, the Court hereby
    4   appoints the Plaintiffs in this action (Imani Whitfield, Shawanna McCoy, and Josey
    5   Parsons Aughtman) as the Cass Representatives.
    6         4.       Having considered the factors set forth in Federal Rule of Civil
    7   Procedure 23(g)(1), the Court hereby appoints the law firms of Bursor & Fisher, P.A.,
    8   Golomb & Honik, P.C., and Milstein Jackson Fairchild & Wade, LLP as Class
    9   Counsel.
   10         B.       The Stipulation Is Preliminarily Approved and Final Approval
                       Schedule Set
   11

   12         5.       The Court hereby preliminarily approves the Stipulation and the terms
   13   and conditions of settlement set forth therein, subject to further consideration at the
   14   Final Approval Hearing described below.
   15         6.       The Court has conducted a preliminary assessment of the fairness,
   16   reasonableness, and adequacy of the Stipulation, and hereby finds that the settlement
   17   falls within the range of reasonableness meriting possible final approval. The Court
   18   therefore preliminarily approves the proposed settlement as set forth in the
   19   Stipulation.
   20         7.       Pursuant to Federal Rule of Civil Procedure 23(e), the Court will hold a
   21   Final Approval Hearing on ________________, 2021 at              a.m./p.m.,   in   the
   22   Courtroom of the Honorable André Birotte, United States District Court for the
   23   Central District of California, 350 West 1st Street, Los Angeles, California 90012,
   24   Courtroom 7B, for the following purposes:
   25                  (a)   finally determining whether the Class meets all applicable
   26   requirements of Federal Rule of Civil Procedure 23 and, thus, the Class should be
   27   certified for purposes of effectuating the settlement;
   28
                                           2            [PROPOSED] ORDER PRELIMINARILY
                                                                      APPROVING CLASS
                                                                    ACTION SETTLEMENT
Case
Case 2:20-cv-00763-AB-AS
     2:20-cv-00763-AB-AS Document
                         Document 53-8
                                  41-1 Filed09/27/21
                                  61 Filed   01/28/21 Page
                                             06/08/21  Page4746
                                                             50ofof6563
                                                                     79 Page
                                                                         PageIDID#:1010
                                                                                   #:496
                                                                                   #:875



    1                  (b)   determining whether the proposed settlement of this action on the
    2   terms and conditions provided for in the Stipulation is fair, reasonable and adequate
    3   and should be approved by the Court;
    4                  (c)   considering the application of Class Counsel for an award of
    5   attorneys’ fees and reimbursement of expenses, as provided for under the Stipulation;
    6                  (d)   considering the applications of Plaintiffs for class representative
    7   service awards, as provided for under the Stipulation;
    8                  (e)   considering whether the Court should enter the [Proposed] Final
    9   Settlement Order and Judgment;
   10                  (f)   considering whether the release of the Released Claims as set
   11   forth in the Stipulation should be provided; and
   12                  (g)   ruling upon such other matters as the Court may deem just and
   13   appropriate.
   14         8.       The Court may continue or adjourn the final approval hearing and later
   15   reconvene such hearing without further notice to Class Members.
   16         9.       The Parties may further modify the Stipulation prior to the final
   17   approval hearing so long as such modifications do not materially change the terms of
   18   the settlement provided thereunder. The Court may approve the Stipulation with such
   19   modifications as may be agreed to by the Parties, if appropriate, without further
   20   notice to Class Members.
   21         10.      Plaintiffs’ applications for attorneys’ fees, costs and incentive awards
   22   must be filed no later than 14 days before the deadline for Class Members to object,
   23   opt out or make claims under the Stipulation. All further papers in support of the
   24   settlement and any application for an award of attorneys’ fees and expenses and/or
   25   class representative incentive awards must be filed with the Court and served at least
   26   seven days prior to the Final Approval Hearing.
   27         C.       The Court Approves the Form and Method of Class Notice
   28         11.      The Court approves, as to form and content, the proposed Long Form
                                           3            [PROPOSED] ORDER PRELIMINARILY
                                                                      APPROVING CLASS
                                                                    ACTION SETTLEMENT
Case
Case 2:20-cv-00763-AB-AS
     2:20-cv-00763-AB-AS Document
                         Document 53-8
                                  41-1 Filed09/27/21
                                  61 Filed   01/28/21 Page
                                             06/08/21  Page4847
                                                             51ofof6563
                                                                     79 Page
                                                                         PageIDID#:1011
                                                                                   #:497
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    1   and Short Form Notice (collectively the “Notice”), which are Exhibits ___ and ____.
    2   The Court further approves, as to form and content, the Claim Form attached as
    3   Exhibit A to the Stipulation of Settlement.
    4            12.   The Court finds that the distribution of Notice substantially in the
    5   manner and form set forth in the Stipulation meets the requirements of Federal Rule
    6   of Civil Procedure 23 and due process, is the best notice practicable under the
    7   circumstances, and shall constitute due and sufficient notice to all persons entitled
    8   thereto.
    9            13.   The Court approves the designation of Heffler Claims Group to serve as
   10   the Court-appointed Settlement Administrator for the settlement. The Settlement
   11   Administrator shall cause the Publication Notice to be published, disseminate Class
   12   Notice, and supervise and carry out the notice procedure, the processing of claims,
   13   and other administrative functions, and shall respond to Class Member inquiries, as
   14   set forth in the Stipulation and this Order under the direction and supervision of the
   15   Court.
   16            14.   The Court directs the Settlement Administrator to establish a Settlement
   17   Website, making available copies of this Order, Class Notice, Claim Forms that may
   18   be downloaded and submitted online, by mail, or by facsimile, the Stipulation and all
   19   Exhibits thereto, a toll-free hotline, and such other information as may be of
   20   assistance to Settlement Class Members or required under the Stipulation. The Class
   21   Notice and Claim Form shall be made available to Class Members through the
   22   Settlement Website on the date notice is first published and continuously thereafter
   23   through the termination of this action.
   24            15.   The Claim Administrator is ordered to complete publication of the
   25   Publication Notice no later than 45 days after Preliminary Approval (the “Notice
   26   Date”).
   27            16.   The costs of Notice, processing of claims of Settlement Class Members,
   28   creating and maintaining the Settlement Website, and all other Claim Administrator
                                           4            [PROPOSED] ORDER PRELIMINARILY
                                                                      APPROVING CLASS
                                                                    ACTION SETTLEMENT
Case
Case 2:20-cv-00763-AB-AS
     2:20-cv-00763-AB-AS Document
                         Document 53-8
                                  41-1 Filed09/27/21
                                  61 Filed   01/28/21 Page
                                             06/08/21  Page4948
                                                             52ofof6563
                                                                     79 Page
                                                                         PageIDID#:1012
                                                                                   #:498
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    1   and Notice expenses shall be paid by Defendant Yes To, Inc. in accordance with the
    2   applicable provisions of the Stipulation.
    3           D.    Procedure for Class Members to Participate in the Settlement
    4           17.   The Court approves the Parties’ proposed Claim Form. Any Settlement
    5   Class Member who wishes to participate in the settlement shall complete a Claim
    6   Form in accordance with the instructions contained therein and submit it to the Claim
    7   Administrator within 120 days after the Notice Date. Such deadline may be further
    8   extended without notice to the Class by written agreement of the Parties.
    9           18.   The Claim Administrator shall have the authority to accept or reject
   10   claims in accordance with the Stipulation.
   11           19.   Any Class Member may enter an appearance in this action, at his or her
   12   own expense, individually or through counsel who is qualified to appear in the
   13   jurisdiction. All Settlement Class Members who do not enter an appearance will be
   14   represented by Class Counsel.
   15           E.    Procedure for Requesting Exclusion from the Class
   16           20.   All Class Members who do not timely exclude themselves from the
   17   Class shall be bound by all determinations and judgments in this action concerning
   18   the settlement, whether favorable or unfavorable to the Settlement Class.
   19           21.   Any person or entity falling within the definition of the Settlement Class
   20   may, upon his, her or its request, be excluded from the Class. Any such person or
   21   entity must submit a request for exclusion to the Clerk of the Court c/o the Class
   22   Action Administrator, postmarked or delivered no later than 7 calendar days prior to
   23   the date of the final approval hearing, the date for which will be specifically identified
   24   in the Publication Notice and Class Notice. Requests for exclusion purportedly filed
   25   on behalf of groups of persons/or entities are prohibited and will be deemed to be
   26   void.
   27           22.   Any Settlement Class Member who does not send a signed request for
   28   exclusion postmarked or delivered on or before the time period described above will
                                           5             [PROPOSED] ORDER PRELIMINARILY
                                                                       APPROVING CLASS
                                                                     ACTION SETTLEMENT
Case
Case 2:20-cv-00763-AB-AS
     2:20-cv-00763-AB-AS Document
                         Document 53-8
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                                  61 Filed   01/28/21 Page
                                             06/08/21  Page5049
                                                             53ofof6563
                                                                     79 Page
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    1   be deemed to be a Settlement Class Member for all purposes and will be bound by
    2   all judgments and further orders of this Court related to the settlement of this action
    3   and by the terms of the settlement, if finally approved by the Court. The written
    4   request for exclusion must request exclusion from the Class, must be signed by the
    5   potential Settlement Class Member and include a statement indicating that the person
    6   or entity is a member of the Settlement Class. All persons or entities who submit
    7   valid and timely requests for exclusion in the manner set forth in the Stipulation shall
    8   have no rights under the Stipulation and shall not be bound by the Stipulation or the
    9   Final Judgment and Order.
   10         23.    A list reflecting all requests for exclusion shall be filed with the Court
   11   by Class Counsel at or before the Final Approval Hearing.
   12         F.     Procedure for Objecting to the Settlement
   13         24.    Any Class Member wishing to object to or oppose the approval of this
   14   Settlement, the motion for the service award to Plaintiffs and/or the Fee and Cost
   15   Applications shall submit to the Settlement Administrator a written objection and/or
   16   request to be heard no later than 75 days after the Notice Date. Such communication
   17   shall state the name and address of the Settlement Class Member, shall include
   18   information sufficient to demonstrate membership in the Settlement Class, shall state
   19   the grounds for each objection asserted, and shall state whether the Settlement Class
   20   Member intends to appear at the final approval hearing. Any Class Member who
   21   fails to timely file and serve a written Objection containing all of the requisite
   22   information shall not be permitted to object to the Settlement and shall be foreclosed
   23   from seeking any review of the Settlement or the terms of the Agreement by any
   24   means, including but not limited to an appeal.
   25         25.    The Settlement Administrator shall forward the Objection and all
   26   supporting documentation to Class Counsel and Counsel for Defendants.
   27         26.    A Class Member who objects to the settlement may also submit a Claim
   28   Form on or before the deadline to do so, which shall be processed in the same way
                                          6              [PROPOSED] ORDER PRELIMINARILY
                                                                       APPROVING CLASS
                                                                     ACTION SETTLEMENT
Case
Case 2:20-cv-00763-AB-AS
     2:20-cv-00763-AB-AS Document
                         Document 53-8
                                  41-1 Filed09/27/21
                                  61 Filed   01/28/21 Page
                                             06/08/21  Page5150
                                                             54ofof6563
                                                                     79 Page
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    1   as all other Claim Forms. A Class Member shall not be entitled to an extension to the
    2   deadline to submit a Claim Form merely because the Class Member has also
    3   submitted an objection.
    4         27.    Class Counsel will file with the Court their briefs in support of Final
    5   Approval, the requested service awards for Plaintiffs and an application for attorneys’
    6   fees and costs no later than twenty-one (21) days before the deadline for Class
    7   Members to object to the Settlement.
    8         28.    Class Counsel and/or Defendants have the right, but not the obligation,
    9   to respond to any objection no later than seven (7) days prior to the Final Approval
   10   Hearing. The party so responding shall file a copy of the response with the Court,
   11   and shall serve a copy, by regular mail, hand or overnight delivery, to the objecting
   12   member of the Class or to the individually-hired attorney for the objecting member
   13   of the Settlement Class; to Class Counsel; and to Defendants’ Counsel.
   14         IT IS SO ORDERED
   15

   16   DATED:
                                                  THE HONORABLE ANDRÉ BIROTTE
   17                                             UNITED STATES DISTRICT JUDGE
   18

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                                          7            [PROPOSED] ORDER PRELIMINARILY
                                                                     APPROVING CLASS
                                                                   ACTION SETTLEMENT
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Case 2:20-cv-00763-AB-AS
     2:20-cv-00763-AB-AS Document
                         Document 53-8
                                  41-1 Filed09/27/21
                                  61 Filed   01/28/21 Page
                                             06/08/21  Page5251
                                                             55ofof6563
                                                                     79 Page
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                                                                  EXHIBIT D
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Case 2:20-cv-00763-AB-AS
     2:20-cv-00763-AB-AS Document
                         Document 53-8
                                  41-1 Filed09/27/21
                                  61 Filed   01/28/21 Page
                                             06/08/21  Page5352
                                                             56ofof6563
                                                                     79 Page
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    6                            UNITED STATES DISTRICT COURT
    7                           CENTRAL DISTRICT OF CALIFORNIA
    8

    9   IMANI WHITFIELD, SHAWANNA McCOY,                   Case No. 2:20-cv-00763-AB-AS
   10   and JOSEY PARSONS AUGHTMAN, on behalf
        of themselves and all others similarly situated,
   11                                                      [PROPOSED] ORDER SETTLEMENT
                                      Plaintiffs,          ORDER AND JUDGMENT
   12          v.

   13   YES TO, INC.,

   14                                 Defendant.

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Case
Case 2:20-cv-00763-AB-AS
     2:20-cv-00763-AB-AS Document
                         Document 53-8
                                  41-1 Filed09/27/21
                                  61 Filed   01/28/21 Page
                                             06/08/21  Page5453
                                                             57ofof6563
                                                                     79 Page
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    1           IT IS HEREBY ADJUDGED AND DECREED THAT:
    2           1.    This Judgment incorporates by reference the definitions in the
    3   Stipulation of Settlement dated __________ (Dkt. __________) (the “Stipulation”),
    4   attached hereto as Exhibit A, and all capitalized terms used herein shall have the
    5   same meanings as set forth in the Stipulation unless set forth differently herein. The
    6   terms of the Stipulation are fully incorporated in this Judgment as if set forth fully
    7   here.
    8           2.     The Court has jurisdiction over the subject matter of this action and all
    9   Parties to the action, including all Settlement Class Members who do not timely
   10   exclude themselves from the Class. The list of excluded Class Members was filed
   11   with the Court on _________ and is attached as Exhibit B.
   12           3.     Pursuant to Federal Rule of Civil Procedure 23(b)(3), the Court hereby
   13   certifies the following Settlement Class:
   14                All persons in the United States who purchased or used the Yes To
   15                Grapefruit Vitamin C Glow-Boosting Unicorn Paper Mask.
                     Excluded from this definition are the Released Persons, any person
   16
                     or entity that purchased the Yes To Grapefruit Vitamin C Glow-
   17                Boosting Unicorn Paper Mask for purposes of resale and not for
                     his/her/its own consumption (i.e., “Resellers”'), and any judicial
   18
                     officer assigned to this case.
   19
                4.     Pursuant to Federal Rule of Civil Procedure 23(c)(3), all such persons
   20
        or entities who satisfy the Settlement Class definition above, except those Settlement
   21
        Class Members who timely and validly excluded themselves from the Settlement
   22
        Class, are Settlement Class Members bound by this Judgment.
   23
                5.     For settlement purposes only, the Court finds:
   24
                       (a)   Pursuant to Federal Rule of Civil Procedure 23(a), Imani
   25
        Whitfield, Shawanna McCoy, and Josey Parsons-Aughtman are members of the
   26
        Settlement Class, their claims are typical of the Settlement Class, and they fairly and
   27
        adequately protected the interests of the Settlement Class throughout the proceedings
   28
                                                                    [PROPOSED] FINAL SETTLEMENT
                                                    -1-                    ORDER AND JUDGMENT
Case
Case 2:20-cv-00763-AB-AS
     2:20-cv-00763-AB-AS Document
                         Document 53-8
                                  41-1 Filed09/27/21
                                  61 Filed   01/28/21 Page
                                             06/08/21  Page5554
                                                             58ofof6563
                                                                     79 Page
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    1   in the Action. Accordingly, the Court hereby appoints Ms. Whitfield, Ms. McCoy,
    2   and Ms. Parsons-Aughtman as class representatives;
    3                (b)       The Class meets all of the requirements of Federal Rules of Civil
    4   Procedure 23(a) and (b)(3) for certification of the class claims alleged in the First
    5   Amended Complaint, including: (a) numerosity; (b) commonality; (c) typicality; (d)
    6   adequacy of the class representative and Class Counsel; (e) predominance of
    7   common questions of fact and law among the Class for purposes of settlement; and
    8   (f) superiority; and
    9                (c)       Having considered the factors set forth in Rule 23(g)(1) of the
   10   Federal Rules of Civil Procedure, Class Counsel have fairly and adequately
   11   represented the Class for purposes of entering into and implementing the settlement.
   12   Accordingly, the Court hereby appoints Class Counsel as counsel to represent Class
   13   Members.
   14         6.     Persons or entities who filed timely exclusion requests are not bound by
   15   this Judgment or the terms of the Stipulation and may pursue their own individual
   16   remedies against Defendant. However, such excluded parties are not entitled to any
   17   rights or benefits provided to Settlement Class Members by the terms of the
   18   Stipulation. The list of persons and entities excluded from the Settlement Class
   19   because they filed timely and valid requests for exclusion is attached hereto as
   20   Exhibit B.
   21         7.     The Court directed that notice be given to Class members by publication
   22   and other means pursuant to the notice program proposed by the Parties in the
   23   Stipulation and approved by the Court. (Dkt. _____ ¶¶ _____.) The declaration from
   24   Heffler Claims Group, attesting to the dissemination of the notice to the Class,
   25   demonstrates compliance with this Court’s Preliminary Approval Order, Dkt. ____.
   26   The Class Notice advised Settlement Class members of the terms of the settlement;
   27   the date, time, and location of the final approval hearing and their right to appear at
   28   such hearing; their rights to remain in or opt out of the Settlement Class and to object
                                                                    [PROPOSED] FINAL SETTLEMENT
                                                    -2-                    ORDER AND JUDGMENT
Case
Case 2:20-cv-00763-AB-AS
     2:20-cv-00763-AB-AS Document
                         Document 53-8
                                  41-1 Filed09/27/21
                                  61 Filed   01/28/21 Page
                                             06/08/21  Page5655
                                                             59ofof6563
                                                                     79 Page
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    1   to the settlement; the procedures for exercising such rights; and the binding effect of
    2   this Judgment, whether favorable or unfavorable, to the Settlement Class.
    3         8.     The distribution of the notice to the Settlement Class constituted the best
    4   notice practicable under the circumstances, and fully satisfied the requirements of
    5   Federal Rule of Civil Procedure 23, the requirements of due process, 28 U.S.C.
    6   §1715, and any other applicable law.
    7         9.     Pursuant to Federal Rule of Civil Procedure 23(e)(2), the Court finds
    8   after a hearing and based upon all submissions of the Parties and other persons that
    9   the settlement proposed by the Parties is fair, reasonable, and adequate. The terms
   10   and provisions of the Stipulation are the product of arms-length negotiations
   11   conducted in good faith and with the assistance of an experienced mediator, Jill
   12   SperbHr. The Court has considered any timely objections to the Settlement and finds
   13   that such objections are without merit and should be overruled. Approval of the
   14   Stipulation will result in substantial savings of time, money and effort to the Court
   15   and the Parties, and will further the interests of justice.
   16         10.   Upon the Final Settlement Approval Date, the named Plaintiffs and each
   17   Class Member other than those listed on Exhibit B shall be deemed to have, and by
   18   operation of this Final Settlement Order and Judgment shall have released, waived
   19   and discharged with prejudice Defendant from any and all claims, demands, actions,
   20   causes of action, lawsuits, arbitrations, damages, or liabilities whether legal,
   21   equitable, or otherwise, relating in any way to the claims asserted or the factual or
   22   legal allegations made in the Action, including without limitation the purchase or use
   23   of the Yes To Grapefruit Vitamin C Glow-Boosting Unicorn Paper Mask at any time
   24   (the “Released Claims”).
   25         11.   All Class Members who have not timely and validly submitted requests
   26   for exclusion are bound by this Judgment and by the terms of the Stipulation.
   27         12.   The Class Representatives in this action initiated their respective
   28   lawsuits, acted to protect the Class, and assisted their counsel. Their efforts have
                                                                      [PROPOSED] FINAL SETTLEMENT
                                                   -3-                       ORDER AND JUDGMENT
Case
Case 2:20-cv-00763-AB-AS
     2:20-cv-00763-AB-AS Document
                         Document 53-8
                                  41-1 Filed09/27/21
                                  61 Filed   01/28/21 Page
                                             06/08/21  Page5756
                                                             60ofof6563
                                                                     79 Page
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    1   produced the Stipulation entered into in good faith that provides a fair, reasonable,
    2   adequate and certain result for the Class. Each of the three Class Representatives are
    3   entitled to a service award of $5,000.       Class Counsel is entitled to reasonable
    4   attorneys’ fees, which the Court finds to be $BBBBBBB, and expenses in the amount
    5   of $_______. The Settlement Notice and Other Administrative Costs may be paid
    6   from the Settlement Fund, in accordance with the terms set forth in the Stipulation.
    7         13.   The Court hereby dismisses with prejudice this Action, and the Released
    8   Parties are hereby released from all further liability for the Released Claims.
    9         14.   Without affecting the finality of this Judgment, the Court reserves
   10   jurisdiction over the implementation, administration and enforcement of this
   11   Judgment and the Stipulation, and all matters ancillary thereto.
   12         15.   The Court finding that no reason exists for delay in ordering final
   13   judgment pursuant to Federal Rule of Civil Procedure 54(b), the clerk is hereby
   14   directed to enter this Judgment forthwith.
   15         16.   The Parties are hereby authorized without needing further approval from
   16   the Court to agree to and adopt such modifications and expansions of the Stipulation,
   17   including without limitation the claim review procedure, that are consistent with this
   18   Judgment and do not limit the rights of Class Members under the Stipulation.
   19

   20         IT IS SO ORDERED.
   21

   22
         DATED:
   23                                             THE HONORABLE ANDRE BIROTTE
                                                  UNITED STATES DISTRICT JUDGE
   24

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                                                                   [PROPOSED] FINAL SETTLEMENT
                                                 -4-                      ORDER AND JUDGMENT
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Case 2:20-cv-00763-AB-AS
     2:20-cv-00763-AB-AS Document
                         Document 53-8
                                  41-1 Filed09/27/21
                                  61 Filed   01/28/21 Page
                                             06/08/21  Page5857
                                                             61ofof6563
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                                                                         PageIDID#:1021
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                                                                   EXHIBIT E
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  Case 2:20-cv-00763-AB-AS
       2:20-cv-00763-AB-AS Document
                           Document 53-8
                                    41-1 Filed09/27/21
                                    61 Filed   01/28/21 Page
                                               06/08/21  Page5958
                                                               62ofof6563
                                                                       79 Page
                                                                           PageIDID#:1022
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                                                     LEGAL NOTICE

If You Purchased or Used a Yes To Grapefruit Vitamin C Glow-Boosting
 Unicorn Paper Mask, You May Benefit From A Proposed Class Action
                             Settlement
                         Whitfield v. Yes To, Inc., Case No. 2:20-cv-00763-AB-AS

   WHAT IS THIS NOTICE ABOUT?                                      Plaintiffs’ Counsel       Yes To’s Counsel
   A Proposed Settlement has been reached in a class action        L. Timothy Fisher         Jeffrey Goldman
   lawsuit in the United States District Court, Central District   Bursor & Fisher, P.A.     Troutman Pepper Hamilton
   of California, (the “Action”) that may affect your rights.      1990 North California     Sanders, LLP
   Purchasers and users of Yes To Grapefruit Vitamin C             Blvd., Suite 940          Two California Plaza
   Glow-Boosting Unicorn Paper Masks (the “Masks”) have            Walnut Creek, CA          350 South Grand Avenue, Suite
   sued their manufacturer, Yes To, Inc. (“Yes To”), alleging      94596                     3400
   that that the Masks cause irritation, redness, and a burning                              Los Angeles, CA 90071
   sensation. Yes To denies this claim. The Court has not                                    Telephone: (213) 928-9800
   ruled in favor of Plaintiffs or Yes To. Instead, the parties                              E-Mail:
   agreed to a Proposed Settlement to avoid the expense and                                  jeffrey.goldman@troutman.com
   risks of continuing the lawsuit.
   AM I A MEMBER OF THE CLASS?                                     3. You Can “Opt Out” of the Settlement. If you exclude
                                                                   yourself from the Class – which is sometimes called
   The class is defined as all persons who purchased or used
                                                                   “opting-out” of the Class – you won’t get any Settlement
   the Masks in the United States at any time.
                                                                   Benefits from the Proposed Settlement. You will also be
   WHAT DOES THE SETTLEMENT PROVIDE?                               responsible for any attorney’s fees and costs you incur if
                                                                   you choose to pursue your own lawsuit. Such notice shall
   Subject to Court approval, the parties have agreed to a         include your name, current address, signature, and a
   Settlement under which Yes To will pay $750,000 in cash.        statement that you want to be excluded from Whitfield v.
   You may submit a claim for a cash payment of the $3             Yes To, Inc., Case No. 2:20-cv-00763-AB-AS, no later
   average retail price for each of the Masks you purchased        than [DATE]. Send the written notice to [ADDRESS].
   or used during the class period. Claims for Products
   purchased or used during the class period will be paid          THE FAIRNESS HEARING
   without requiring proof of purchase. The claim amount
   may be subject to pro rata increase or decrease depending        On [________], 2021, at [_____], the Court will hold a
   on the number of claims submitted.                              hearing in the United States District Court for the Central
                                                                   District of California to determine: (1) whether the
   WHAT ARE MY RIGHTS?                                             Proposed Settlement is fair, reasonable, and adequate and
   You have a choice of whether to stay in the Class or not,       should receive final approval; and (2) whether the
   and you must decide this now. If you stay in the Class,         application for Plaintiffs’ attorneys’ fees of up to one-third
   you will be legally bound by all orders and judgments of        of the total $750,000 settlement fund, plus reimbursement
   the Court, and you won’t be able to sue, or continue to         of out-of-pocket expenses, should be granted. Objections
   sue, Yes To as part of any other lawsuit involving the          to the Proposed Settlement by Class Members will be
   same facts or claims that are in this lawsuit. This is true     considered by the Court, but only if such objections are
   even if you do nothing by not submitting a claim.               filed in writing with the Court and sent to Plaintiffs’ and
                                                                   Yes To’s counsel by [________, 2021] as explained
   1. You Can Accept the Settlement. Class Members who             above. Class Members who support the Proposed
   wish to receive Settlement Benefits must submit claims          Settlement do not need to appear at the hearing or take
   by [DATE]. You can get a Claim Form on the Internet at          any other action to indicate their approval. You may hire
   www.YesToClassAction.com. Read the instructions                 your own lawyer to appear in Court for you if you wish;
   carefully, fill out the form, and submit it online on or        however, if you do, you will be responsible for paying
   before [DATE]. Alternatively, you may also submit a             that lawyer on your behalf.
   Claim Form by mailing it to the following address:
   [ADDRESS]. It must be postmarked no later than                  HOW CAN I GET MORE INFORMATION?
   [DATE]. If you fail to submit a timely Claim Form and           If you have questions or want a detailed notice or other
   do not exclude yourself from the Settlement, then you will      documents about this lawsuit and your rights, visit the
   be bound by the Settlement but will not receive any             website at www.YesToClassAction.com. You may also
   Settlement Benefits.                                            contact Class Counsel by email at info@bursor.com, or by
   2. You Can Object to the Settlement. If you believe the         writing to: [ADDRESS].
   Settlement is unsatisfactory, you may file a written            By order of the United States District Court for the
   objection with the Clerk of the Court for the Central           Central District.
   District of California and send copies to the following
   Counsel representing the Class and Yes To:
Case
Case 2:20-cv-00763-AB-AS
     2:20-cv-00763-AB-AS Document
                         Document 53-8
                                  41-1 Filed09/27/21
                                  61 Filed   01/28/21 Page
                                             06/08/21  Page6059
                                                             63ofof6563
                                                                     79 Page
                                                                         PageIDID#:1023
                                                                                   #:509
                                                                                   #:888




                                                            EXHIBIT F
Case
Case 2:20-cv-00763-AB-AS
     2:20-cv-00763-AB-AS Document
                         Document 53-8
                                  41-1 Filed09/27/21
                                  61 Filed   01/28/21 Page
                                             06/08/21  Page6160
                                                             64ofof6563
                                                                     79 Page
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                                                                                   #:889



    1             CONFIDENTIAL SETTLEMENT COMMUNICATION - SUBJECT TO RULE 408
    2

    3
                                     UNITED STATES DISTRICT COURT
    4
                                   CENTRAL DISTRICT OF CALIFORNIA
    5

    6
        IMANI WHITFIELD, SHAWANNA                           Case No. 2:20-cv-00763
    7
        MCCOY, JOSEY PARSONS                                STIPULATION REGARDING
    8   AUGHTMAN, individually and on                       UNDERTAKING RE:
        behalf of all other similarly situated,             ATTORNEYS’ FEES AND COSTS
    9

   10                              Plaintiffs,
   11           vs.
   12
        YES TO, INC.
   13
                                   Defendant.
   14

   15

   16

   17                  WHEREAS, _____________ (the “Firm”) desires to give an undertaking (the
   18   “Undertaking”) for repayment of their award of attorney fees and costs, approved
   19   by the Court, and
   20                  WHEREAS, the Parties agree that this Undertaking is in the interests of all
   21   Parties and in service of judicial economy and efficiency.
   22                  NOW, THEREFORE, each of the undersigned, on behalf of themselves as
   23   individuals and as agents for their law firm, hereby submit themselves and their
   24   respective law firms to the jurisdiction of the Court for the purpose of enforcing the
   25   provisions of this Undertaking.
   26                  Capitalized terms used herein without definition have the meanings given to
   27   them in the
   28
        {00095408;1}
                                                                                       UNDERTAKING
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Case
Case 2:20-cv-00763-AB-AS
     2:20-cv-00763-AB-AS Document
                         Document 53-8
                                  41-1 Filed09/27/21
                                  61 Filed   01/28/21 Page
                                             06/08/21  Page6261
                                                             65ofof6563
                                                                     79 Page
                                                                         PageIDID#:1025
                                                                                   #:511
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    1   Settlement Agreement.
    2                  By receiving any payments pursuant to the Settlement Agreement, the Firm
    3   and its shareholders, members, and/or partners submit to the jurisdiction of the
    4   United States District Court for the Central District of California for the
    5   enforcement of any and all disputes relating to or arising out of the reimbursement
    6   obligation set forth herein and the Settlement Agreement.
    7                  The Firm and its shareholders, members, and/or partners are jointly and
    8   severally liable for any obligations for any repayment of any and all money and
    9   other funds which are paid to their respective firms, pursuant to this Undertaking.
   10                  In the event that the Final Approval Order and Judgment or any part of it is
   11   vacated, overturned, reversed, or rendered void as a result of an appeal, or the
   12   Settlement Agreement is voided, rescinded, or otherwise terminated for any other
   13   reason, the Firm shall, within twenty (20) business days repay to Yes To, Inc. the
   14   full amount of the attorneys’ fees, costs and expenses paid to the Firm pursuant to
   15   the Order granting the motion for attorney fees, and/or paid pursuant to the Final
   16   Approval Order, plus accrued interest at the same net rate as is earned by judgments
   17   entered by federal courts.
   18                  In the event the attorney fees and costs awarded by the Court or any part of
   19   them are vacated, modified, reversed, or rendered void as a result of an appeal, the
   20   Firm shall within twenty (20) business days repay to the Settlement Fund the
   21   amount of the reduction applicable to that law firm’s or attorney’s portion of the
   22   Fee Award, plus accrued interest at the same net rate as is earned by judgments
   23   entered by federal courts.
   24                  This Undertaking and all obligations set forth herein shall expire upon
   25   finality of the Final Approval Order and Judgment. The Final Approval Order and
   26   Judgment will be final at the later of, 1) 31 days after entry of Judgment if no
   27   Notice of Appeal is filed, or 2) after all appeals are exhausted and the Order and/or
   28
        {00095408;1}
                                                                                        UNDERTAKING
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Case
Case 2:20-cv-00763-AB-AS
     2:20-cv-00763-AB-AS Document
                         Document 53-8
                                  41-1 Filed09/27/21
                                  61 Filed   01/28/21 Page
                                             06/08/21  Page6362
                                                             66ofof6563
                                                                     79 Page
                                                                         PageIDID#:1026
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    1   Judgment are affirmed, with no further rights of appeal.
    2                  In the event the Firm fails to make a repayment required under this
    3   Undertaking, the Court shall, upon application of Yes To, Inc., and notice to the
    4   Firm, summarily issue orders, including but not limited to judgments and
    5   attachment orders against any Person and/or entity jointly and severally liable
    6   pursuant to this Undertaking, and may make appropriate findings for sanctions for
    7   contempt of court.
    8                  The undersigned stipulate, warrant, and represent that they have both actual
    9   and apparent authority to enter into this stipulation, agreement, and undertaking on
   10   behalf of the Firm.
   11                  This Undertaking may be executed in one or more counterparts, each of
   12   which shall be deemed an original but all of which together shall constitute one and
   13   the same instrument. Signatures by facsimile shall be as effective as original
   14   signatures.
   15                  The undersigned declare under penalty of perjury under the laws of the
   16   United States that they have read and understand the foregoing and that it is true
   17   and correct.
   18
        IT IS SO STIPULATED:
   19
        DATED: ____________, 2021
   20

   21                                           _______________________________________
   22                                           By: _______________, individually and
   23                                           on behalf of the Firm

   24                                           _______________________________________

   25

   26

   27

   28
        {00095408;1}
                                                                                        UNDERTAKING
                                                         -3-
Case 2:20-cv-00763-AB-AS Document 61 Filed 09/27/21 Page 64 of 65 Page ID #:1027
Case 2:20-cv-00763-AB-AS Document 61 Filed 09/27/21 Page 65 of 65 Page ID #:1028




  Aleesha Beyus
